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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY
                                COVINGTON DIVISION

  STATE OF TENNESSEE,                               )
  COMMONWEALTH OF KENTUCKY,                         )
  STATE OF OHIO, STATE OF INDIANA,                  )
  COMMONWEALTH OF VIRGINIA, and                     )
  STATE OF WEST VIRGINIA,                           )
                                                    )
         Plaintiffs,                                )
                                                    )
  v.                                                ) Civil Action No. ___________
                                                    )
  MIGUEL CARDONA, in his official ca-               )
  pacity as Secretary of Education, and             )
  UNITED STATES DEPARTMENT OF                       )
  EDUCATION,                                        )
                                                    )
         Defendants.                                )

                                         COMPLAINT



       1.      For fifty years, Title IX of the Educational Amendments Act has helped equalize

women’s access to educational facilities and programs by barring discrimination “on the basis of

sex” by schools receiving federal funds. At the same time, given the “enduring” physical differ-

ences between men and women, United States v. Virginia, 518 U.S. 515, 533 (1996), Title IX has

always allowed the nation’s schools to divide private spaces and participation on sports teams by

sex. Yet through unprecedented new regulations, the U.S. Department of Education now seeks to

twist Title IX’s prohibition on sex discrimination into a mandate that schools protect and promote

their students’ “gender identity,” among other “sex characteristics.” Exhibit A, U.S. Dep’t of

Educ., Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Fed-

eral Financial Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024). Defendants’ sweeping and


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unlawful Title IX reading will bar schools’ long-lawful practices to protect student privacy, per-

versely hamper fair competition in women’s sports, and punish States for following their laws.

The State of Tennessee, Commonwealth of Kentucky, State of Ohio, State of Indiana, Common-

wealth of Virginia, and State of West Virginia bring this Complaint against the U.S. Department

of Education and its Secretary to enjoin and invalidate the new Title IX regulations.

                                        INTRODUCTION

       2.      Congress enacted Title IX to remedy historic and persistent sex-based discrimina-

tion in education, including by promoting equal opportunity for women in the educational sphere.

Title IX does so by barring recipients of federal educational funding from engaging in discrimina-

tion “on the basis of sex.” 20 U.S.C. § 1681(a) (emphasis added).

       3.      All of the tools of statutory interpretation support reading this provision as barring

discrimination based on sex, not the distinct term “gender identity” and associated theories. See

Ohio v. Becerra, 87 F.4th 759, 769 (6th Cir. 2023) (“The traditional tools of construction include

consideration of a statute’s text, structure, history, and purpose.” (cleaned up)); Bostock v. Clayton

Cnty., 590 U.S. 644, 654 (2020) (explaining that courts “normally interpret[] a statute in accord

with the ordinary public meaning of its terms at the time of its enactment”).

       4.      Federal courts across the country have recognized that the ordinary public meaning

of “sex” at the time of Title IX’s enactment referred to the biological distinction between male and

female. Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 817 (11th Cir. 2022)

(en banc); Bridge ex rel. Bridge v. Okla. State Dep’t of Educ., No. CIV-22-00787-JD, 2024 WL

150598, at *8 (W.D. Okla. Jan. 12, 2024); Neese v. Becerra, 640 F. Supp. 3d 668, 684 (N.D. Tex.

2022); D.H. by A.H. v. Williamson Cnty. Bd. of Educ., 638 F. Supp. 3d 821, 835-36 (M.D. Tenn.



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2022); cf. Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 632-33 (4th Cir. 2020) (Niemeyer,

J., dissenting).

        5.         Additional textual clues, such as Title IX’s consistent treatment of “sex” as binary,

support this reading. For example, § 1681(a)(2) delays Title IX’s application to an institution in

the process of “changing from being an institution which admits only students of one sex” to being

“an institution which admits students of both sexes.” 20 U.S.C. § 1681(a)(2) (emphasis added).

        6.         The statute’s structure likewise indicates that Title IX proscribes practices that treat

women worse than men, and vice versa—not sex-differentiation based on inherent differences be-

tween the sexes. For one thing, Title IX expressly authorizes sex-segregated living spaces and

programs by stating it does not “prohibit any educational institution … from maintaining separate

living facilities for the different sexes,” 20 U.S.C. § 1686—a provision included to protect “per-

sonal privacy.” 118 Cong. Rec. 5,807 (1972) (statement of Sen. Bayh). And many of Title IX’s

exclusions from coverage preserve female-only spaces—a choice that would have no meaning if

“sex” is a fluid concept. See, e.g., 20 U.S.C. § 1681(a)(6) (exempting college sorority membership

practices and service organizations like the Girl Scouts).

        7.         The historical evidence overwhelmingly confirms this reading of Title IX. Just a

sampling: The statute arose from seven days of U.S. House hearings examining the problem of

“discrimination against women.” See Hearings Before the Special Subcommittee on Education of

the Committee on Education and Labor House of Representatives on Section 805 of H.R. 16098,

91st Cong. 1-2 (1970) (statement of Rep. Green). And the bill’s Senate sponsor, Birch Bayh,

called the proposed Title IX legislation “[t]he only antidote” to “the continuation of corrosive and

unjustified discrimination against women . . . in[] all facets of education.” 118 Cong. Rec. 5,803.

At the same time, Senator Bayh stressed that Title IX did not “desegregate” anything, but merely
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“provide[d] equal access for women and men students to the educational process and extracurric-

ular activities in school.” 117 Cong. Rec. 30,407 (1971).

       8.      The Department of Education and its predecessor agency have historically and con-

sistently interpreted “sex” to refer to a binary male-female distinction. This position began in

1975—with Title IX’s original implementing regulations—and persisted until the early days of

President Barack Obama’s second term. And Congress chose to retain the relevant statutory text

when it amended Title IX in 1987 to encompass all educational programs. Civil Rights Restoration

Act of 1987, Pub. L. No. 100-259, 102 Stat. 28 (1988). Given the uniform and well-known status

of Title IX’s regulatory history, that indicates that Congress embraced the long-standing practices

and precedents greenlighting sex-separation in the nation’s schools. See Franklin v. Gwinnett

Cnty. Pub. Schs., 503 U.S. 60, 73 (1992) (drawing a similar inference from the Act’s failure to

overturn an intervening U.S. Supreme Court precedent interpreting Title IX).

       9.      Against this avalanche of evidence regarding Title IX’s plain scope, President

Biden’s Department of Education has finalized a new Title IX rule that fundamentally alters the

meaning of Title IX’s bar on sex discrimination. The rule, which takes effect on August 1, 2024,

declares that “sex” is an expansive concept whose bounds it need not define. Instead, under the

Department’s view, unlawful “sex discrimination” covers “any discrimination that depends” even

“in part on consideration of a person’s sex,” 89 Fed. Reg. at 33,803, including but not limited to

“discrimination on the basis of sex stereotypes, sex characteristics, pregnancy or related condi-

tions, sexual orientation, and gender identity,” id. at 33,886 (adding 34 C.FR. § 106.10).

       10.     The Department pursued this Title IX overhaul despite Congress’s repeated refusal

to expand Title IX’s coverage beyond “sex.” See, e.g., Student Non-Discrimination Act of 2015,



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S. 439, 114th Cong. (2015). 1 The result is unauthorized lawmaking by regulators set on carrying

out the Biden Administration’s whole-of-government approach to “prohibit[ing] discrimination on

the basis of gender identity or sexual orientation.” Exec. Order No. 13,988, 86 Fed. Reg. 7,023,

7,023 (Jan. 20, 2021).

       11.     The Final Rule’s distorted definition of sex has radical ramifications. Start with

schools’ ubiquitous distinctions between male and female areas—in bathrooms, locker rooms,

changing facilities, and the like. Now, drawing these lines is illegal discrimination unless schools

permit persons to access even private spaces “consistent with their gender identity.” 89 Fed. Reg.

at 33,887 (amending 34 C.F.R. § 106.31(a)); see also id. at 33,816-17, 33,818-20. The Final Rule,

moreover, says the “person[s]” Title IX protects include anyone “participating or attempting to

participate” in the recipient’s program or activity, including students from other schools, visiting

lecturers, and invited community members. Id. at 33,816 (emphasis added). And it prohibits

schools from making any inquiries or requiring any evidence before allowing access based on a

person’s self-professed gender identity. Id. at 33,819. The upshot: Just about any person on a

school’s campus can use the private facilities reserved for the sex of their choice, no questions

asked. Id. at 33,816, 33,818.

       12.     Despite the Department’s best efforts to muddy the issue, the Final Rule’s gender-

identity mandate also will invalidate scores of States’ and schools’ sex-separated sports policies.

As President Biden’s administration has consistently argued, and as the Final Rule suggests, the


       1
        See also Ryan T. Anderson, On the Basis of Identity: Redefining “Sex” in Civil Rights
Law and Faulty Accounts of “Discrimination”, 43 Harv. J.L. & Pub. Pol’y 387, 387 & n.5 (2020).




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Department’s reading of Title IX will not allow schools to enforce a generally applicable rule

prohibiting males who identify as females from playing on female sports teams. Id. at 33,817.

       13.     Instead, the Department’s discussion of athletics confirms that schools can lawfully

exclude men from women’s sports teams only in limited circumstances yet to be determined. To

justify this differential treatment of sports, the Final Rule unveils the eleventh-hour justification

that Title IX’s regulations “have always permitted” sex-separate athletic teams. Id. at 33,819; see

also id. 33,816-17 (citing 34 C.F.R. § 106.41(b)). But that reasoning would apply equally to the

single-sex bathrooms and locker rooms that those regulations have likewise permitted from the

start but that the Final Rule now deems discriminatory against transgender students, among others.

See infra ¶¶ 148-49; see also 34 C.F.R. §§ 106.33-.34. That the Final Rule must draw dubious

distinctions to avoid illogical consequences indicts the Department’s approach of preferencing

subjective gender-identity theory over the women Title IX aims to protect.

       14.     The Final Rule then compounds its erroneous reading of sex discrimination by

adopting an expansive definition of what counts as prohibited “harassment” for Title IX purposes.

Under the Final Rule, repercussions risk running to any speech or religious expression that might

reasonably be deemed “unwelcome,” “offensive,” and “limit[ing]” of a student’s educational par-

ticipation or benefits. 89 Fed. Reg. at 33,884 (amending 34 C.F.R. § 106.2); see also id. at 33,562.

But the Sixth Circuit and other courts have concluded that the First Amendment protects students’

and faculty’s prerogative not to “communicat[e] messages about gender identity [they] believe[]

are false,” including using “a pronoun that reflects a student’s self-asserted gender identity” rather

than sex. Meriwether v. Hartop, 992 F.3d 492, 498-99, 512-13 (6th Cir. 2021). Yet instead of

grappling with the clear constitutional implications of the Final Rule’s contrary harassment guide-

lines, the Department punts any First Amendment problems to resolution on a case-by-case basis.
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The resulting regime is cold comfort to the teachers and students who now must toe the line of

gender-identity directives or risk Title IX sanctions.

       15.     In short, the Department has used rulemaking power to convert a law designed to

equalize opportunities for both sexes into a far broader regime of its own making. Under the Final

Rule, those who “identify as LGBQTI+” must receive access to spaces reserved to members of the

opposite sex. 89 Fed. Reg. at 33,808, 33,816-17, 33,818-20. Men who identify as women will,

among other things, have the right to compete within programs and activities that Congress made

available to women so they can fairly and fully pursue academic and athletic excellence—turning

Title IX’s protections on their head. And anyone who expresses disagreement with this new status

quo risks Title IX discipline for prohibited harassment.

       16.     Title IX does not authorize such sweeping steps. At the very least, it does not do

so in the clear manner required to impose Spending-Clause conditions on congressional funding

or to override States’ traditional prerogatives to set school policy. The lack of clear congressional

authorization for the Final Rule’s unprecedented gender-identity mandate also requires invalidat-

ing the rule under the major-questions doctrine.

       17.     Tennessee, Kentucky, Ohio, Indiana, Virginia, West Virginia and tens of thousands

of other commenters opposed the Department’s approach for these and many additional reasons. 2

Yet in adopting the Final Rule, the Department failed to respond to many commenters’ critiques—

let alone with adequate explanations or substantial supporting evidence. But it is Administrative


       2
         Exhibit B, Jonathan Skrmetti, Letter to Miguel Cardona, ED-2021-OCR-0166-218129
(Sept. 12, 2022) [hereinafter Tennessee Facilities-and-Programs Comment]; Exhibit C, Jonathan
Skrmetti, Letter to Miguel Cardona, ED-2022-OCR-0143-148789 (May 15, 2023) [hereinafter
Tennessee Athletics Comment]; Exhibit D, Todd Rokita, Letter to Miguel Cardona, ED-2022-
OCR-0143-150756 (May 15, 2023) [hereinafter Indiana Athletics Comment].

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Law 101 that agencies must offer well-reasoned decision-making to support their regulations, not

dodge important aspects of the problem or draw arbitrary lines for political reasons. The Final

Rule flunks this baseline limit on the Department’s rulemaking authority.

       18.     Absent this Court’s immediate intervention, the Final Rule will inflict severe irrep-

arable harm on the States, their educational programs and policies, and their citizens.

       19.     Tennessee is a case in point. State law is replete with duly enacted policies that

conflict with the Department’s new Title IX reading. By a combination of law and policy, Ten-

nessee schools generally require sex-separated participation in sports. See Tenn. Code Ann. § 49-

6-310(a); Tennessee Secondary School Athletic Association, 2023-24 TSSAA Handbook (July 18,

2023), https://perma.cc/KG36-4JLZ [hereinafter TSSAA Handbook]. Tennessee law does not

mandate that any educational institution defer to students’ gender identity in matters such as bath-

room or facility access. Cf. Tenn. Code Ann. §§ 49-2-802(2), 803(a) (providing that a public

school may accommodate a student’s desire for greater privacy when using a sex-specific restroom

or facility by offering a single-occupancy option). And Tennessee protects the rights of students

and faculty to express even “offensive” ideas in the classroom, see Tenn. Code Ann. § 49-7-2405,

including ideas whose expression might run afoul of the Final Rule’s capacious conception of

“harassment.” The Final Rule thus forces Tennessee to choose between enforcing its own laws

and losing about $1.5 billion in federal funds on which important programs at every level of Ten-

nessee education depend. On top of that, Tennessee’s laws place it at risk of Title IX suits by

private plaintiffs seeking to recover under the Department’s gender-identity mandate.

       20.     The other Plaintiff States face the same choice between following duly enacted pol-

icies that protect students’ privacy and girls’ fair participation in athletics, on the one hand, and

forfeiting billions in federal educational funding on the other.         See, e.g., Ky. Rev. Stat.
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156.070(2)(g) (directing that a student’s sex for the purpose of determining eligibility for inter-

scholastic athletics shall be determined by the student’s biological sex, and prohibiting males from

participating in any athletic activity or team designated for girls in grades six through twelve); Ky.

Rev. Stat. § 164.2813 (providing the same for postsecondary institutions); see also infra ¶¶ 206,

208.

       21.     Because the Final Rule is set to take effect in mere months, all Plaintiff States also

face imminent, unrecoverable compliance expenses and risk of liability in private suits. These

compliance sums and efforts will be substantial—as the Final Rule itself acknowledges.

       22.     The Plaintiff States now seek this Court’s intervention to protect their interests and

constitutional principles, under which Congress—not unelected members of the Department of

Education—has exclusive power to pass and amend laws that apply nationwide. This Court should

stay the Final Rule’s effective date and enjoin its enforcement pending judicial review, and ulti-

mately issue final relief vacating and setting aside the Final Rule in its entirety.

                                             PARTIES

       23.     Plaintiff the State of Tennessee is a sovereign State. Through its state-level agen-

cies and local subdivisions, Tennessee operates “education program[s]” and “activities” that “re-

ceiv[e] Federal financial assistance” within the meaning of Title IX. 20 U.S.C. § 1681. Jonathan

Skrmetti, the Attorney General and Reporter of Tennessee, is authorized by statute to try and direct

“all civil litigated matters . . . in which the state . . . may be interested.” Tenn. Code Ann. § 8-6-

109(b)(1).

       24.     Plaintiff the Commonwealth of Kentucky is a sovereign State. Through its state-

level agencies and local subdivisions, Kentucky operates “education program[s]” and “activities”

that “receiv[e] Federal financial assistance” within the meaning of Title IX. 20 U.S.C. § 1681.
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The Attorney General of the Commonwealth of Kentucky is authorized to bring legal actions on

behalf of the Commonwealth and its citizens. Ky. Rev. Stat. § 15.020. The Attorney General is

“charged with the duty of protecting the interest of all the people,” Hancock v. Terry Elkhorn

Mining Co., 503 S.W.2d 710, 715 (Ky. 1973), including by ensuring that government actors per-

form their duties lawfully, see Commonwealth ex rel. Beshear v. Bevin, 498 S.W.3d 355, 362 (Ky.

2016); see also Cameron v. EMW Women’s Surgical Ctr., PSC, 595 U.S. 267, 278 (2022) (recog-

nizing that the Attorney General is “deemed Kentucky’s ‘chief law officer’ with the authority to

represent the Commonwealth ‘in all cases’” (citation omitted)).

       25.     Plaintiff the State of Indiana is a sovereign State. Through its state-level agencies

and local subdivisions, Indiana operates “education program[s]” and “activities” that “receiv[e]

Federal financial assistance” within the meaning of Title IX. 20 U.S.C. § 1681. Theodore E.

Rokita is the Attorney General of Indiana. General Rokita is authorized to “represent the state in

any matter involving the rights or interests of the state.” Ind. Code § 4-6-1-6.

       26.     Plaintiff the State of Ohio is a sovereign State. Through its state-level agencies and

local subdivisions, Ohio operates “education program[s]” and “activities” that “receiv[e] Federal

financial assistance” within the meaning of Title IX. 20 U.S.C. § 1681. Dave Yost, the Attorney

General of Ohio, is “the chief law officer for the state and all its departments.” Ohio Rev. Code §

109.02. He is authorized to represent the State of Ohio “in any court or tribunal in a cause … in

which the state is directly interested.” Id.

       27.     Plaintiff the Commonwealth of Virginia is a sovereign State. Through its state-

level agencies and local subdivisions, Virginia operates “education program[s]” and “activities”

that “receiv[e] Federal financial assistance” within the meaning of Title IX. 20 U.S.C. § 1681.

Jason Miyares, the Attorney General of Virginia, is authorized by statute to “represent the interests
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of the Commonwealth … in matters before or controversies with the officers and several depart-

ments of the government of the United States.” Va. Code § 2-2.513.

       28.     Plaintiff the State of West Virginia is a sovereign State. Through its state-level

agencies and local subdivisions, West Virginia operates “education program[s]” and “activities”

that “receiv[e] Federal financial assistance” within the meaning of Title IX. 20 U.S.C. § 1681.

Patrick Morrisey is the Attorney General of the State of West Virginia. The Attorney General “is

the State’s chief legal officer,” State ex rel. McGraw v. Burton, 569 S.E.2d 99, 107 (W. Va. 2002),

and his express statutory duties include “appear[ing] as counsel for the state in all causes pending

… in any federal court[] in which the state is interested,” W. Va. Code § 5-3-2.

       29.     Defendant U.S. Department of Education is an executive agency of the federal gov-

ernment responsible for enforcement and administration of Title IX. 20 U.S.C. § 3411, 3441.

       30.     Defendant Miguel Cardona is the Secretary of the U.S. Department of Education

and is responsible for its administration, including the effectuation of Title IX via rulemaking. 20

U.S.C. § 3474; 20 U.S.C. § 1682.

       31.     Together, Defendants are referred to as the “Department.”

                                JURISDICTION AND VENUE

       32.     This Court has federal-question jurisdiction under 28 U.S.C. § 1331 because the

Plaintiff States challenge the Secretary and the Department’s actions under the Administrative

Procedure Act’s provision for judicial review of agency action, 5 U.S.C. § 702, and other federal

law, see 20 U.S.C. § 1683 (providing for judicial review of “agency action” effectuating Title IX).

       33.     This Court also has jurisdiction under 28 U.S.C. § 1346 because this case involves

a claim against an agency and employee of the federal government.

       34.     An actual controversy exists between the parties under 28 U.S.C. § 2201(a).
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        35.     This Court has authority to grant Plaintiff States’ requested relief and other appro-

priate relief under 5 U.S.C. §§ 705-06, 28 U.S.C. §§ 2201-02 (the Declaratory Judgment Act), and

its inherent equitable powers.

        36.     Venue is proper in this District under 28 U.S.C. § 1391(e)(1). Defendants are

United States agencies and officers sued in their official capacities. Plaintiff Commonwealth of

Kentucky is a resident of every judicial district in its sovereign territory, including this judicial

district and division.

        37.     The Covington Division of the Eastern District of Kentucky is a proper division

for this action because a substantial part of the events giving rise to this action occurred in the

division, Kentucky’s Attorney General maintains a physical office in Covington, Kentucky, and

no defendant resides in the Commonwealth. The Final Rule purposely regulates schools and other

Title IX recipients across the country, including those located in the Plaintiff States. This Court

thus has personal jurisdiction over the Secretary for purposes of this action because his immunity

has been abrogated by 5 U.S.C. § 702 and he has “submi[tted]” to such jurisdiction “through con-

tact with and” regulatory “activity directed at” Plaintiff States and their schools. J. McIntyre

Mach., Ltd. v. Nicastro, 564 U.S. 873, 881 (2011).

                                  FACTUAL ALLEGATIONS

  I.    Congress Enacted Title IX’s Prohibition on Sex Discrimination to Promote Equal Op-
        portunity for Women in Education.

    A. Remedying Discrimination Against Women with Title IX

        38.     The leadup to Title IX’s passage indisputably reflects a congressional aim to rectify

a “history of sex discrimination” against women in the educational sphere. Virginia, 518 U.S. at

531 (quoting Frontiero v. Richardson, 411 U.S. 677, 684 (1973)).


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       39.      Title VI of the Civil Rights Act of 1964 prohibited discrimination in “program[s]

or activit[ies] receiving Federal financial assistance” “on the ground of race, color, or national

origin.” See Pub. L. No. 88-352, tit. VI, 78 Stat. 252 (1964) (codified at 42 U.S.C. § 2000d). But

the law did not include “sex” as a protected ground. Id.

       40.     By the early 1970s, many recognized that “women still face[d] pervasive, although

at times more subtle, discrimination in [American] educational institutions,” Frontiero, 411 U.S.

at 686, including those that received federal funds.

       41.     Women’s college and graduate-school enrollment lagged behind their male peers.

118 Cong. Rec. 5,804, 5,805; Title IX & Gender Equity in Science, Technology, Engineering and

Mathematics, 31 J.C. & U.L. 291, 293-95 (2005). Many schools remained closed to women or

required them to meet higher admissions standards. Katie Lew, Unbalanced: The Case for Re-

moving Title IX’s Private College Admissions Exemption, 70 Duke L.J. 847, 855-56 & n.48 (2021).

       42.     Moreover, female college students were often excluded from “male” disciplines

and activities, id. at 855 n.38, and only about 30,000 women participated in college athletics versus

170,000 men. Jocelyn Samuels and Kristen Galles, In Defense of Title IX: Why Current Policies

Are Required to Ensure Equality of Opportunity, 14 Marq. Sports L. Rev. 11, 18-19 (2003).

       43.     In 1970, U.S. House Representative Edith Green led seven days of hearings docu-

menting the problem of “discrimination against women” in education. See Hearings Before the

Special Subcommittee on Education of the Committee on Education and Labor House of Repre-

sentatives on Section 805 of H.R. 16098, 91st Cong. 1-2 (1970) (statement of Rep. Green).

       44.     Two years later, Congress enacted the statute now called “Title IX,” prohibiting

discrimination based on “sex” in education programs and activities receiving federal financial



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assistance. See Equal Opportunity in Education Act, Pub. L. No. 92-318, tit. IX, 86 Stat. 373

(1972) (codified as amended at 20 U.S.C. § 1681 et seq.).

       45.     The bill’s Senate sponsor, Birch Bayh of Indiana, called Title IX “[t]he only anti-

dote” to “the continuation of corrosive and unjustified discrimination against women . . . in[] all

facets of education.” 118 Cong. Rec. 5,803. Referencing extensive evidence, including the 1970

hearings, Senator Bayh said Title IX would help “provide [American] women … an equal chance

to attend the schools of their choice[ and] to develop the skills they want.” Id. at 5,804-06, 5,808.

       46.     The House Report recommending passage of the bill and statements from the bill’s

House sponsors sounded similar themes. H.R. Rep. No. 92-554, at 51-52 (1971); 117 Cong. Rec.

39,252 (1971) (statement of Rep. Patsy Mink).

       47.     Although Title IX’s text did not expressly reference athletics, Congress quickly

amended the statute to add the “Javits Amendment.” Education Amendments of 1974, Pub. L.

No. 93-380, § 844, 88 Stat. 484, 612 (1974). That provision directed the Department of Educa-

tion’s predecessor agency, the Department of Health, Education, and Welfare (“HEW”), to pro-

pose regulations “implementing [Title IX’s] provisions[,] . . . includ[ing,] with respect to intercol-

legiate athletic activities[,] reasonable provisions considering the nature of particular sports.” Id.

       48.     The Javits Amendment supplemented the statute’s general authorization of federal

agencies administering federal financial assistance to education programs and activities to “effec-

tuate” Title IX’s provisions via “rules, regulations, or orders.” 20 U.S.C. § 1682.

       49.     Congress also authorized federal agencies to enforce Title IX’s prohibition by ter-

minating a non-compliant recipient’s Title IX assistance. See id.




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   B. Title IX’s Legacy and Challenges to Its Success

        50.       Fifty years after Title IX’s enactment, women outnumber men in higher education,

earning more than fifty percent of undergraduate and postgraduate degrees. 3

        51.       These gains have improved the opportunities available to tens of millions of Amer-

ican women, including the thirty million female Americans who are currently school aged. 4

        52.       Female athletics participation has also increased exponentially. Since its enactment

in 1972, Title IX has led to an explosion in the participation of girls and women in sports. In 2021,

3.4 million girls played high school sports, and 219,000 women played NCAA sports. 5 These

recent figures reflect a broader trend. NCAA statistics show that since 1982 (when the NCAA

began separating male and female participation rates), female participation rates in athletics have

risen from 43% of the male participation rate (74,329 to 169,800) to 78% (219,177 to 278,988) in

2021—almost doubling. 6 The successes of women on America’s playing fields correlate directly

to greater opportunities for women in America’s board rooms. See Adams, 57 F.4th at 820-21

(Lagoa, J., concurring) (“[R]esearch shows stunningly that 94[ ] percent of women C-Suite exec-

utives today played sport[s].” (citation omitted)). Rolling back progress for women in sports is a

civil rights issue of the highest order. See Indiana Athletics Comment at 10.


        3
         National Center for Education Statistics, Postsecondary Education: Undergraduate De-
gree Fields (May 2023), https://perma.cc/8NP8-JLNS; National Center for Education Statistics,
Postsecondary Education: Graduate Degree Fields (May 2023), https://perma.cc/N7WB-WAQV.
        4
         Data Profiles: United States, U.S. Census Bureau, https://perma.cc/2NCW-4LAJ (last
visited Mar. 13, 2024).
        5
            NCAA Sports Sponsorship and Participation Rates Database, https://perma.cc/QD82-
F6P3.
        6
            Id.



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       53.       Since Title IX’s enactment, science has confirmed what common sense suggested

in the 1970s: “[W]ere play and competition not separated by sex, the great bulk of the females

would quickly be eliminated from participation and denied any meaningful opportunity for athletic

involvement.” Cape v. TSSAA, 563 F.2d 793, 795 (6th Cir. 1977). Because of the physiological

differences between males and females, men and even boys outperform the best female athletes in

the world. See Comment by the Independent Women’s Law Center, ED-2022-OCR-0143-155361,

at 3 (May 15, 2023), attached as Exhibit E-6 [hereinafter IWLC Comment] (citing research). The

same is true across all levels of sports. See Tennessee Athletics Comment at 14-15.

       54.       Differences in “cardiovascular endurance, muscular strength, muscular endurance,

speed/agility and power,” among others, reduce female competitiveness as early as age six—a

disadvantage that the onset of male puberty only exaggerates. Id. at 14 (quoting United Kingdom

Sports Councils, Int’l Res. Literature Rev. at 3 (Sept. 2021), https://perma.cc/H3TJ-KEDE). The

performance advantage of men over women is typically 10-50% depending on the sport. 7 The

reason for male athletic advantage is biology. Males have 45% higher lean-body mass, 33% higher

lower-body muscle mass, 40% higher upper-body muscle mass, 54% higher knee extension

strength, and 30% higher maximum cardiac output. 8 The result is that, by early teens, many ado-

lescent males surpass elite (i.e., Olympic and world championship level) female performance in

nearly all sports. 9 See Indiana Athletics Comment at 10. And studies show that suppressing


       7
         Emma N. Hilton & Tommy R. Lundberg, Transgender Women in the Female Category
of Sport: Perspectives on Testosterone Suppression and Performance Advantage, 51 Sports Med.
199 (2021); see also Ex. 1 to Comment by Independent Council on Women’s Sports, ED-2022-
OCR-0143-148316 (May 14, 2023), attached as Exhibit E-7.
       8
           Hilton & Lundberg, supra, at 202.
       9
           See id. at 204.

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testosterone after puberty begins will not substantially eliminate the male athletic advantage. See

Tennessee Athletics Comment at 15; see also IWLC Comment at 5-6 (citing similar research). 10

        55.    Yet, in recent years, high school and collegiate sporting bodies have adopted poli-

cies that threaten to undermine the gains women have achieved in sports and beyond by allowing

men who identify as women to participate in women’s athletic competitions.

        56.    The NCAA, for example, has allowed males with suppressed testosterone levels to

compete on women’s teams. 11 Some high school athletic associations have even adopted policies

allowing males to compete on girls’ or women’s teams without undergoing surgery or hormone

therapy. 12

        57.    Although these policies are relatively new, they have already proved detrimental to

female opportunity and physical safety. Men identifying as women have taken athletic titles—and

opportunities to compete—from women. See Tennessee Athletics Comment at 15; see also Cyd

Zeigler, These 23 trans women have won national or international competitions or championships,

Outsports (Mar. 1, 2022), https://perma.cc/X7UT-9FDQ. And as common sense would dictate

given their greater strength and speed, allowing males to compete in women’s sports has led to

serious physical injuries among female athletes. See Tennessee Athletics Comment at 15.


        10
          Timothy A. Roberts, et al., Effect of Gender Affirming Hormones on Athletic Perfor-
mance in Transwomen and Transmen: Implications for Sporting Organizations and Legislators,
55 British J. of Sports Med., 577, 577 (Dec. 7, 2020), https://perma.cc/J59C-Z4PD.
        11
           NCAA, 2010 NCAA Policy on Transgender Student-Athlete Participation (2010),
https://perma.cc/Y9SN-5JVJ; NCAA, Transgender Student-Athlete Participation Policy (Updated
Apr. 17, 2023), https://perma.cc/RQ46-6YJQ.
        12
          Samantha Pell, Girls Say Connecticut’s transgender athlete policy violates Title IX, file
federal complaint, Wash. Post. (June 19, 2019), https://perma.cc/KJ9W-W2UJ.



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       58.     Recognizing these dangers and the “science around physical performance and male

advantage,” a number of international sporting bodies have barred male athletes or athletes who

have gone through male puberty from participating in female competitions. 13 See Comment by

Alliance Defending Freedom, ED-2022-OCR-0143-150698, at 24 (May 15, 2023), attached as

Exhibit E-5 [hereinafter ADF Athletics Comment].

       59.     At least twenty-five States have likewise adopted restrictions that preclude males’

participation in female athletics, even when a male athlete identifies as a woman. 14

       60.     Allowing males to play on female teams will moreover reduce women’s educa-

tional access. Athletic scholarships help students pursue educational opportunities. If scholarships

available to students joining a female team are given to males (as reportedly attempted by one

Division I school 15), that means fewer athletic—and educational—opportunities for women.

   C. Title IX’s Clear Scope

       61.     Many scholars attribute the dramatic improvement in women’s educational oppor-

tunities since 1972, at least in part, to Title IX’s simple pronouncement: “No person in the United

States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving Federal financial

assistance.” 20 U.S.C. § 1681 (emphasis added); see, e.g., Samuels & Galles, supra, at 33-34; see


       13
          Katie Falkingham, World Athletics bans transgender women from competing in female
world ranking events, BBC (Mar. 23, 2023), https://perma.cc/JG9S-V5AR; see also World Cy-
cling’s governing body bans female transgender athletes from women’s events, Associated Press
(July 14, 2023), https://perma.cc/Q9MN-NVZN.
       14
          Movement Advancement Project, LGBTQ Youth: Bans on Transgender Youth Partici-
pation in Sports (2024), https://perma.cc/P7E7-K55H.
       15
         Taylor Penley, NCAA volleyball player refuses to stay silent as trans athletes put
women’s opportunities ‘at risk’, FoxBusiness (Dec. 19, 2023), https://perma.cc/UE88-F9JE.

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also Elizabeth Kaufer Busch & William E. Thro, Restoring Title IX’s Constitutional Integrity, 33

Marq. Sports L. Rev. 507, 507-08 & n.1 (2022).

       62.     The plain meaning of this provision belies that it applies to terms like “gender iden-

tity” that are distinct from “sex.” As the en banc Eleventh Circuit recognized, “[r]eputable dic-

tionary definitions of ‘sex’ from the time of Title IX’s enactment [in 1972] show that when Con-

gress prohibited discrimination on the basis of ‘sex’ in education, it meant biological sex, i.e.,

discrimination between males and females.” Adams, 57 F.4th at 815.

       63.     Context confirms this reading. Title IX expressly states that it does not “prohibit

any educational institution … from maintaining separate living facilities for the different sexes,”

i.e., “for” males and females. 20 U.S.C. § 1686 (emphasis added). Senator Bayh explained that

such “differential treatment by sex” was permissible “where personal privacy must be preserved.”

118 Cong. Rec. 5,807 (statement of Sen. Bayh). And it makes sense that Title IX would not treat

the provision of sex-separate facilities as discriminatory. Sex-based classifications like this one,

unlike race-based classifications, are not inherently invidious because they are rooted in “endur-

ing’ differences between men and women.” L.W. ex rel. Williams v. Skrmetti, 83 F.4th 460, 484

(6th Cir. 2023) (quoting Virginia, 518 U.S. at 533). In other words, they do not treat “similarly

situated” individuals unequally. Bostock, 590 U.S. at 657.

       64.     Moreover, § 1686’s safe-harbor for “separate” male and female facilities “would

be rendered meaningless” if “sex” did not refer to a male-female binary based on physiological

differences. Adams, 57 F.4th at 813. Interpreting sex discrimination to encompass “gender iden-

tity” discrimination, for example, “would result in situations where an entity would be prohibited

from installing or enforcing the otherwise permissible sex-based carve-outs when the carve-outs

come into conflict with a transgender person’s gender identity.” Id. at 814. That would grant
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transgender persons “dual protection under Title IX based on both sex and gender identity,” im-

permissibly giving “‘different meanings to the same [statutory] phrase.’” Id. (quoting Cochise

Consultancy, Inc. v. United States ex rel. Hunt, 139 S. Ct. 1507, 1512 (2019)).

       65.     Beyond § 1686, Title IX consistently treats sex as a binary, using phrases such as

“one sex,” “the other sex,” and “both sexes.” For example, the statute excepts from its coverage a

public undergraduate institution with a historic “policy of admitting only students of one sex,” 20

U.S.C. § 1681(a)(5) (emphasis added); certain organizations whose memberships have “tradition-

ally been limited to persons of one sex,” id. § 1681(a)(6) (emphasis added); “father-son or mother-

daughter activities,” so long as similar opportunities provided for “one sex” are provided for “the

other sex,” id. § 1681(a)(8) (emphasis added); and scholarships associated with participation in a

beauty pageant “limited to individuals of one sex only,” id. § 1681(a)(9) (emphasis added). Title

IX also clarifies that it does not require “preferential or disparate treatment to the members of one

sex.” Id. § 1681(b).

       66.     Many of Title IX’s exclusions from coverage preserve male-only or female-only

spaces. The statute does not apply, for example, to the membership practices of college fraternities

and sororities or to those of sex-segregated voluntary service organizations like the Girl Scouts

and Camp Fire Girls. Id. § 1681(a)(6). Nor does it apply to the programs or activities of Boys and

Girls State and Boys and Girls Nation. Id. § 1681(a)(7).

       67.     This treatment of “sex” as a male-female binary reflects Title IX’s linguistic con-

text. “The phrase ‘gender identity’ did not exist” in 1972 “outside of some esoteric psychological

publications.” Ryan T. Anderson & Melody Wood, Gender Identity Policies in Schools: What

Congress, the Courts, and the Trump Administration Should Do, at 9, The Heritage Found. (2017),

https://perma.cc/VG5N-ZAYE. And the word “gender” had itself “been coined only recently in
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contradistinction to sex.” Id. Indeed, “psychiatric literature” at the time “conflated sexual orien-

tation with gender identity.” Adams v. Sch. Bd. of St. Johns Cnty., 3 F.4th 1299, 1336 (11th Cir.

2021) (Pryor, C.J., dissenting) (citing Jack Drescher, Transsexualism, Gender Identity Disorder

and the DSM, 14 J. Gay & Lesbian Mental Health 109, 111 (2010)), rev’d on reh’g on banc, 57

F.4th 791.

       68.     These textual, structural, and linguistic clues accord with the evidence that Con-

gress enacted Title IX with a sex-specific purpose: to remedy discrimination against women in

American education by promoting equal educational opportunities for them going forward.

 II.   Decades of Administrative Interpretations Confirm Title IX’s Limited Application to
       Sex Discrimination.

       69.     Soon after Title IX’s enactment, in 1975, HEW finalized regulations “effectuat[ing]

the provisions of [Title IX]” and, per then-applicable statutory procedures, submitted them to Con-

gress for review. 20 U.S.C. § 1682; N. Haven Bd. of Educ. v. Bell, 456 U.S. 512, 531 (1982); see

also 45 C.F.R. pt. 86 (1975) (now codified at 34 C.F.R. pt. 106). These provisions addressed the

effect of Title IX’s prohibition of discrimination based on “sex” in admissions, education programs

and activities, athletics, and employment. See generally 34 C.F.R. pt. 106.

       70.     Both houses of Congress held extensive hearings reviewing the regulations’ con-

sistency with Title IX. See Samuels & Galles, supra, at 20 & n.48. No congressional resolution

disapproving them passed, and HEW’s regulations went into effect on July 21, 1975. 16 See Bell,


       16
           Congress later created the Department of Education and transferred all HEW’s functions
relating to educational programs to the Secretary of Education. 20 U.S.C. §§ 3411, 3441(a)(3).
HEW’s determinations, rules, and regulations remain effective. And the relevant provisions of the
Title IX regulations discussed below have not been revised since 1975.



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456 U.S. at 532-33; see also id. at 534 (finding Congress’s failure to disapprove the regulations

“lends weight” to the notion that they are “valid and consistent with the legislative intent”).

       71.     Like Title IX, the 1975 regulations, which were recodified without substantive

change in 34 C.F.R. part 106, treat sex as a binary, referring multiple times to “one sex,” especially

versus “the other sex,” using the phrase “both sexes,” and referencing “boys and girls” and “male

and female teams.”      See, e.g., 34 C.F.R. §§ 106.33, 106.34(a)(3), 106.36(c), 106.37(a)(3),

106.41(c), 106.51(a)(4), 106.58(a), 106.60(b), 106.61; see also 34 C.F.R. pt. 86 (1975).

       72.     Consistent with the statutory structure, the regulations also preserve certain sex-

segregated spaces, authorizing a recipient, for example, to “provide separate housing on the basis

of sex,” id. § 106.32; “provide separate toilet, locker room, and shower facilities on the basis of

sex,” id. § 106.33; conduct “separate sessions for boys and girls” of sexual-education classes in

elementary and secondary schools, id. § 106.34(a)(3); and “make requirements based on vocal

range or quality which may result in a chorus or choruses of one or predominantly one sex,” id.

§ 106.34(a)(4). Like the statutory carveout for sex-separate facilities, these regulatory provisions

would make no sense if “sex” refers to something other than physiological differences between

males and females.

       73.     The original rules governing athletics accord with Title IX’s general prohibition on

discrimination and with its approval of sex separation in certain cases. They forbid discrimination

“on the basis of sex” in “interscholastic, intercollegiate, club or intramural athletics” but allow a

recipient to sponsor “separate teams for members of each sex” when team selection is “based upon

competitive skill” or the sport is a “contact sport.” Id. § 106.41(a)-(b). Underlining that sex dif-

ferentiation does not equal sex discrimination under Title IX, the athletics rules require “equal

athletic opportunity for members of both sexes,” including in the distribution of athletic
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scholarships and the provision of facilities, equipment, and services, but provide that “aggregate

expenditures for members of each sex” and “expenditures for male and female teams” need not

necessarily be equal to comply with Title IX. Id. § 106.41(c); see also id. § 106.37(c).

       74.     Consistent, too, with Title IX’s purpose, the regulations also require covered insti-

tutions that admitted “only students of one sex” before 1965 to “overcome the effects of past ex-

clusion of students on the basis of sex” by developing and implementing a plan to “encourage

individuals of the previously excluded sex to apply for admission.” 45 C.F.R. §§ 86.16, 86.17(d)

(emphasis added). In many cases, “the previously excluded sex” means women. See Lew, supra,

at 855-56 & n.40 (noting the transition from male-only education to coeducation in private univer-

sities took place in the late 1960s and early 1970s).

       75.     Judicial decisions in the first decades after the statute’s passage reflect a similar

understanding that Congress enacted Title IX to combat “discrimination against women in the field

of education.” Bell, 456 U.S. at 523-24 (emphasis added); see also Cannon v. Univ. of Chi., 441

U.S. 677, 694 & n.16, 704 n.36 (1979) (recognizing that a female applicant to medical school was

“clearly a member of that class for whose special benefit [Title IX] was enacted”). Such decisions

describe the law and its regulations as a deliberate check on “male dominance” in academic set-

tings. Yellow Springs Exempted Vill. Sch. Dist. v. Ohio High Sch. Athletic Ass’n, 647 F.2d 651,

658 (6th Cir. 1981); accord Ridgeway v. Mont. High Sch. Ass’n, 858 F.2d 579, 581 (9th Cir. 1988).

       76.     In the decades that followed, the Department of Education consistently interpreted

“sex” as a binary classification—male, female—consistent with the statutory text, structure, and

purpose and with the statute’s implementing regulations.

       77.     For example, in adopting 1997 guidance clarifying that Title IX covers same-sex

sexual harassment, the Department stated, “both male and female students are protected from
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sexual harassment . . . even if the harasser and the person being harassed are members of the same

sex.” U.S. Dep’t of Educ., Off. for Civ. Rts., Sexual Harassment Guidance: Harassment of Stu-

dents by School Employees, Other Students, or Third Parties, 62 Fed. Reg. 12,034, 12,039 (Mar.

13, 1997) https://perma.cc/AT7Y-KCFC. The guidance did not use the term “gender identity,”

and it stated that “Title IX does not prohibit discrimination on the basis of sexual orientation,”

presumably because the Department then understood “sex” to refer to the status of being male or

female, not that of being heterosexual or homosexual. Id.; see also id. at 12,036.

 III.   The Obama Education Department Unveils a New 2014 Reading of Title IX that
        Turns on Students’ Gender Identity, Not Sex.

        78.    The Department’s longstanding and consistent view of Title IX suddenly shifted in

the second half of President Obama’s tenure.

        79.    Previously, in a “Dear Colleague Letter” on bullying, the Obama Department of

Education had tracked the historic understanding of Title IX as limited to sex-based discrimination.

That letter acknowledged that claims of sex discrimination by lesbian, gay, bisexual, and

transgender students based on their “LGBT status” must overlap with “sexual harassment or gen-

der-based harassment.” U.S. Dep’t of Educ., Off. for Civ. Rts., Dear Colleague Letter on Bullying,

at 8 (Oct. 26, 2010) (marked “not for reliance”), https://perma.cc/3AGM-SB8P.

        80.    Yet, a few years later, the Department performed an about-face, asserting that “Title

IX’s sex discrimination prohibition extends to claims of discrimination” based solely on “gender

identity.” U.S. Dep’t of Educ., Off. for Civ. Rts., Questions and Answers on Title IX and Sexual

Violence, at 5 (Apr. 29, 2014) (rescinded in 2017), https://perma.cc/Y7BD-XHFU; see also G.G.

ex rel. Grimm v. Gloucester Cnty. Sch. Bd., 822 F.3d 709, 722 (4th Cir. 2016) (citation omitted)




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(deferring to but acknowledging the “novelty” of this position). The Department offered no ex-

planation or justification for its reversal.

        81.     A subsequent “Dear Colleague” letter asserting that Title IX “encompasses discrim-

ination based on a student’s gender identity, including discrimination based on a student’s

transgender status,” compounded this deficiency. U.S. Dep’t of Just. & U.S. Dep’t of Educ., Off.

for Civ. Rts., Dear Colleague Letter on Title IX and Transgender Students, at 1 (May 13, 2016)

(rescinded in 2017), https://perma.cc/G5VG-ZNV9 [hereinafter 2016 Dear Colleague Letter]; see

also U.S. Dep’t of Educ., Off. for Civ. Rts., Letter to Emily T. Prince, Esq., at 1-2 (Jan. 7, 2015)

(rescinded in 2017), https://perma.cc/4ZRV-8LQ7 (previewing this position). The guidance failed

to square the Department’s new reading with its previous interpretation of “sex.” Nor did it offer

any legal analysis supporting the new interpretation. Instead, it asserted that a recipient would

discriminate “on the basis of sex” if it failed to “treat students consistent with their gender iden-

tity,” even if a student’s gender identity conflicted with records of his or her sex. 2016 Dear

Colleague Letter at 3.

        82.     The Department suggested that a recipient’s failure to compel faculty and staff to

“use pronouns and names consistent with a transgender student’s gender identity” could violate

this newly interpreted Title IX. Id. A recipient would also engage in sex discrimination under the

Department’s reading if it failed to permit students to access restrooms, locker rooms, shower

facilities, and housing, or if the recipient failed to allow students to participate in activities, includ-

ing sports, based on their gender identity alone. Id. at 3-4.

        83.     A federal court in Texas swiftly enjoined the enforcement of the Dear Colleague

letter and related guidance nationwide. See Texas v. United States, 201 F. Supp. 3d 810, 816 n.4,

836 (N.D. Tex. 2016), clarified by, No. 7:16-cv-00054-O, 2016 WL 7852331 (N.D. Tex. Oct. 18,
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2016). The court held that plaintiffs would likely succeed on the merits in arguing (a) that the

Department and other defendants violated the APA’s notice and comment requirements by adopt-

ing “legislative and substantive” rules in the guise of guidance, and (b) that the ordinary public

meaning of “sex” as used in Title IX unambiguously precluded construing that term to mean “gen-

der identity.” Id. at 827-34. The injunction was dissolved when plaintiffs voluntarily dismissed

their suit after the guidance was withdrawn. See Pls.’ Notice of Voluntary Dismissal, Texas v.

United States, No. 7:16-cv-00054-O (N.D. Tex. Mar. 3, 2017), ECF No. 128.

 IV.   The Trump Education Department Returns to Reading Title IX to Cover Only Sex.

   A. Rescission of the Dear Colleague Letter and 2020 Title IX Rule

       84.     In February 2017, President Trump’s administration withdrew and rescinded the

Obama Department’s gender-identity guidance. U.S. Dep’t of Just. & U.S. Dep’t of Educ., Off.

for Civ. Rts., Dear Colleague Letter on Gender Identity Guidance (Feb. 22, 2017),

https://perma.cc/H6E3-YBEZ. The Departments of Education and Justice explained that the with-

drawn documents (a) did not contain “extensive legal analysis,” (b) did not explain the consistency

of their position with Title IX’s “express language,” and (c) did not “undergo any formal public

process.” Id. at 1. The Departments also emphasized the “primary role of the States and local

school districts in establishing educational policy.” Id. And the administration made clear that

the withdrawal of the previous guidance merely returned the state of the law to the pre-2014 un-

derstanding of Title IX’s scope. See id. at 2.

       85.     In 2020, the Department promulgated further amendments to its Title IX regula-

tions to better align the Department’s enforcement practices with the statutory text and case law in

the area of sexual harassment. See Dep’t of Educ., Nondiscrimination on the Basis of Sex in Edu-

cation Programs or Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30,026 (May

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19, 2020). Relevant here, the Department defined “sexual harassment” as “conduct that is so se-

vere, pervasive, and objectively offensive that it effectively denies a person equal access to edu-

cation.” Id. at 30,036. By requiring that harassment satisfy all three of those characteristics, the

Department stated its definition would capture “serious situations” of conduct or speech while

accounting for the fact that “younger students are still learning social skills and older students

benefit from robust exchange of ideas, opinions, and beliefs.” Id. at 30,143.

       86.     In justifying its definition of harassment, the Department explained that it tracked

“verbatim,” id. at 30,036, the Supreme Court’s definition in Davis ex rel. LaShonda D. v. Monroe

County Board of Education, 526 U.S. 629 (1999). Though Davis arose in the context of determin-

ing schools’ Title IX liability in private damages actions for student-on-student harassment, the

Department noted that “[n]othing in . . . Davis purports to restrict” its framework “only to private

lawsuits for money damages.” 85 Fed. Reg. at 30,033. The Department, moreover, reasoned that

the Davis “framework” reflected Title IX’s application to “discrimination” (i) “by the school,” 85

Fed. Reg. at 30,200, 30,033, that (ii) is severe enough that it “effectively denies a person’s equal

access” to an educational program or activity, id. at 30,154. The Department also explained that

a “narrowly tailored” definition of hostile-environment harassment was necessary to apply Title

IX “in a manner consistent with respect for First Amendment rights, and principles of free speech

and academic freedom, in education programs and activities.” Id. at 30,142.

       87.     The 2020 Rule did not amend other regulations implementing Title IX’s non-dis-

crimination directive, like those permitting sex-separated housing and intimate facilities. Id. at

30,178 (discussing 34 C.F.R. 106.32-34). But it noted that both “Title IX and its implementing

regulations include provisions that presuppose sex as a binary classification,” and that the



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Department has “acknowledged physiological differences based on biological sex” in regulating

physical education under Title IX. Id.

    B. Bostock

        88.     One month after the Department issued the 2020 Rule, the U.S. Supreme Court

issued its decision in Bostock v. Clayton County, 590 U.S. 644, holding that Title VII’s prohibition

on sex discrimination bars an employer from firing an employee based on sexual orientation or

transgender status. Id. at 651-52. The Court’s decision rested on two key holdings.

        89.     First, the Court held that Title VII’s prohibition of discrimination “because of” sex

incorporates a but-for causation standard, meaning that “[s]o long as the plaintiff’s sex was one

but-for cause of [a challenged employment decision],” Title VII’s coverage is triggered. Id. at

656, 659; see also 42 U.S.C. § 2000e-2(a)(1).

        90.     Second, the Court held that, an employee’s “sex plays an unmistakable and imper-

missible role in [a] discharge decision” based on homosexual or transgender status. 590 U.S. at

660. The Court reasoned that an employer who fires a male employee “for no reason other than

the fact he is attracted to men . . . discriminates against him for traits or actions it tolerates in his

female colleague”; likewise, an employer who fires a male transgender person who now identities

as a female “intentionally penalizes a person identified as male at birth for traits or actions that it

tolerates in an employee identified as female at birth.” Id. Because Title VII forbids any consid-

eration of sex in firing an employee, the Court reasoned that Title VII prohibits an employer from

firing an employee based on his or her homosexuality or transgender status. Id. at 660-62.

        91.     Importantly, the Court assumed that “sex” referred “only to biological distinctions

between male and female” at the time of Title VII’s enactment in 1964. Id. at 655.



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       92.     The Court also expressly declined to “prejudge” whether its decision in Bostock

would “sweep beyond Title VII” to laws such as Title IX. Id. at 681.

       93.     It similarly declined to consider whether employer conduct other than firing an em-

ployee for being homosexual or transgender—for example, enforcing “sex-segregated bathrooms,

locker rooms, and dress codes”—would constitute actionable discrimination under Title VII. Id.

       94.     And the Court did not consider, much less decide, what Title IX’s statutory phrase

“on the basis of sex” means or whether and how Title IX’s explicit provision for sex-separated

living facilities and other spaces inform the meaning of sex discrimination under Title IX.

   C. Post-Bostock Guidance

       95.     In the wake of the Bostock decision, some courts read Bostock broadly—disregard-

ing the decision’s explicit limitations of its scope. Such courts concluded that Bostock’s reasoning

applied to Title IX, meaning that “Title IX, like Title VII, prohibits discrimination against a person

because he is transgender, because this constitutes discrimination based on sex.” Adams ex rel.

Kasper v. Sch. Bd. of St. Johns Cnty., 968 F.3d 1286, 1305 (11th Cir. 2020), rev’d on reh’g en

banc, 47 F.4th 791.

       96.     The Department of Education’s Office of the General Counsel sharply disagreed.

In a January 2021 memorandum discussing the decision’s implications for enforcement of Title

IX, the General Counsel underlined Bostock’s narrow scope. Reed D. Rubinstein, Memorandum

For Kimberly M. Richey, Acting Assistant Secretary of the Office for Civil Rights, re: Bostock v.

Clayton Cty., 140 S. Ct. 1731 (2020) (Jan. 8, 2021), https://perma.cc/Q9YC-Q4Y2. The memo-

randum concluded that Bostock does not control the meaning of “sex” under Title IX and that the

“Department’s longstanding construction of the term ‘sex’ in Title IX [is] biological sex, male or

female.” Id. at 1. It also reasoned that construing “sex” to mean “biological sex” is “the only
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construction consistent with the ordinary public meaning of ‘sex’ at the time of Title IX’s enact-

ment,” the statutory and regulatory text and structure—including § 1686’s express carve-out for

sex-separate facilities—and Department practice. Id. at 1-4. Finally, the memorandum determined

that giving “sex” its ordinary meaning not only permits but requires a Title IX recipient providing

“separate toilet, locker room, and shower facilities” or “separate athletic teams” to regulate entry

based on sex. Id. at 7, 9.

       97.     Several courts have likewise held that “Title VII differs from Title IX in important

respects” and that “principles announced in the Title VII context [do not] automatically apply in

the Title IX context.” Meriwether v. Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021) (noting that,

“under Title IX, universities must consider sex in allocating athletic scholarships, 34 C.F.R.

§ 106.37(c), and may take it into account in ‘maintaining separate living facilities for the different

sexes.’ 20 U.S.C. § 1686”); see also Adams, 57 F.4th at 811 (explaining that “Title IX, unlike Title

VII, includes express statutory and regulatory carve-outs for differentiating between the sexes

when it comes to separate living and bathroom facilities, among others”); A.C. ex rel. M.C. v.

Metro. Sch. Dist. of Martinsville, 75 F.4th 760, 769 (7th Cir. 2023) (finding Bostock provided

“useful guidance” but noting that “the particular application of sex discrimination it addressed was

different”), cert. denied sub nom., Metro. Sch. Dist. of Martinsville v. A.C., 144 S. Ct. 683 (2024).

But see Grabowski v. Ariz. Bd. of Regents, 69 F.4th 1110, 1116-18 (9th Cir. 2023) (construing

Title IX consistently with Title VII and thus applying Bostock to hold that Title IX covers discrim-

ination based on “perceived sexual orientation”); Grimm, 972 F.3d at 616-17 (similar as to a

transgender student).




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 V.    The Biden Administration Reverses Course Again by Proposing the Challenged Gen-
       der-Identity Mandate.

   A. Initial Guidance

       98.     Upon assuming office, President Biden and his administration surged in the oppo-

site direction. As one of his first official acts as president, President Biden declared that Bostock’s

analysis changed the meaning of all federal law governing sex discrimination: “Under Bostock’s

reasoning, laws that prohibit sex discrimination—including Title IX of the Education Amendments

of 1972, as amended (20 U.S.C. 1681 et seq.), . . . , along with their respective implementing

regulations—prohibit discrimination on the basis of gender identity or sexual orientation, so long

as the laws do not contain sufficient indications to the contrary.” Exec. Order No. 13,988, 86 Fed.

Reg. 7,023, 7,023 (Jan. 20, 2021).

       99.     President Biden directed each federal agency to review all existing regulations and

other agency actions for consistency with that position and develop a plan to “ensure that [the

agency was] fully implementing the policy” set forth in the Executive Order. Id. at 7,024.

       100.    Accordingly, in June 2021, the Department of Education published guidance re-

garding “Enforcement of Title IX of the Education Amendments of 1972 With Respect to Dis-

crimination Based on Sexual Orientation and Gender Identity in Light of Bostock v. Clayton

County.” 86 Fed. Reg. 32,637-01 (June 22, 2021) [hereinafter Interpretation]. Relying heavily on

Bostock’s analysis of Title VII, the Department “interpret[ed] Title IX’s prohibition on discrimi-

nation ‘on the basis of sex’ to encompass discrimination on the basis of sexual orientation and

gender identity.” Id. at 32,637.

       101.    In relevant part, the Department concluded that the phrase “on the basis of sex” in

Title IX has the same meaning as the phrase “because of . . . sex” in Title VII. Id. at 32,638-39.


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It cited two federal appellate court decisions—one of which has since been reversed—“recog-

niz[ing] that Title IX’s prohibition on sex discrimination encompasses discrimination based on

sexual orientation and gender identity.” Id. at 32,639 (collecting cases). It ignored other federal

appellate decisions distinguishing Title VII and Title IX. See, e.g., Meriwether, 992 F.3d at 510

n.4. And the Department concluded that its interpretation “is most consistent with the purpose of

Title IX”—“ensur[ing] equal opportunity and . . . protect[ing] individuals from the harms of sex

discrimination.” 86 Fed. Reg. at 32,639.

       102.    The Department followed this new guidance with a “Dear Educator” letter and fact

sheet, vowing that the Office of Civil Rights “w[ould] fully enforce Title IX to prohibit discrimi-

nation based on sexual orientation and gender identity in education programs and activities that

receive Federal financial assistance from the Department.” Suzanne B. Goldberg, Dear Educator

letter on Confronting Anti-LGBTQI+ Harassment in Schools, at 2 (June 23, 2021),

https://perma.cc/A759-WKR9.

       103.    The fact sheet purported to provide examples of discriminatory action under Title

IX, as interpreted through the Bostock lens, but it described scenarios that Bostock explicitly de-

clined to address, such as a school that does not allow a transgender student to use the restroom or

participate in sports associated with the student’s gender identity. Id.; cf. Bostock, 590 U.S. at 681.

       104.    Like the Obama Administration guidance, the Biden guidance failed to withstand a

preliminary challenge in federal court. In Tennessee v. U.S. Department of Education, the court

preliminarily enjoined the Department and its co-defendants from implementing the Interpretation,

Dear Educator letter, and fact sheet against twenty States, including the State of Tennessee. 615

F. Supp. 3d 807, 842 (E.D. Tenn. 2022). In relevant part, the court held that the Biden Department,



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like the Obama Department before it, had likely proceeded illegally by “creat[ing] new rights and

obligations” without complying with the APA’s notice-and-comment requirements. Id. at 838.

       105.    In support, the court reasoned that the new guidance “plausibly ‘adopt[s] a new

position inconsistent with . . . [the Department’s] existing regulations” for two reasons. Id. at 839.

First, “Title IX does allow for sex-separation in certain circumstances,” but “the Department’s

guidance, specifically the Fact Sheet, appears to suggest such conduct will be investigated as un-

lawful discrimination.” Id. Second, the guidance “creates rights for students and obligations for

regulated entities not to discriminate based on sexual orientation or gender identity that appear

nowhere in Bostock, Title IX, or its implementing regulations.” Id.

       106.    The court emphasized that “Bostock d[id] not require Defendants’ interpretations

of Title . . . IX.” Id. at 833. Rather, Defendants “fail[ed] to cabin themselves to Bostock’s hold-

ing,” “advanc[ing] new interpretations of [Title IX] and impos[ing] new legal obligations.” Id.

       107.    The Eastern District’s injunction remains in effect pending appeal. See Tennessee

v. U.S. Dep’t of Educ., No. 22-5807 (6th Cir.) (argued Apr. 26, 2023).

   B. The Proposed Facilities-and-Programs Rule

           1. The Department’s Proposal

       108.    In July 2022, the Biden Department proposed amendments to its Title IX regula-

tions adopting the interpretation of Title IX advanced in its previous guidance documents (the

“Proposed Facilities-and-Programs Rule”). See Notice of Proposed Rulemaking re: Nondiscrimi-

nation on the Basis of Sex in Education Programs or Activities Receiving Federal Financial As-

sistance, 87 Fed. Reg. 41,390 (proposed July 12, 2022) (to be codified at 34 C.F.R. pt. 106).

       109.    In relevant part, the Proposed Facilities-and-Programs Rule redefined sex discrim-

ination under Title IX to “include[] discrimination on the basis of sex stereotypes, sex

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characteristics, pregnancy or related conditions, sexual orientation, and gender identity.” Id. at

41,571 (to be codified at 34 C.F.R. § 106.10).

       110.    The Department made clear that this definition would apply to “any academic, ex-

tracurricular, research, occupational training, or other education program or activity operated by a

recipient that receives Federal financial assistance.” Id. (to be codified at 34 C.F.R. § 106.31(a)).

       111.    The Proposed Facilities-and-Programs Rule provided that, even when Title IX oth-

erwise authorizes “different treatment or separation on the basis of sex, a recipient must not carry

out such different treatment or separation in a manner that discriminates on the basis of sex by

subjecting a person to more than de minimis harm, unless otherwise permitted by Title IX or this

part.” Id. (to be codified at 34 C.F.R. § 106.31(a)(2)). Applying this standard, the Department

went on to clarify that “subject[ing] a person to more than de minimis harm on the basis of sex”

would include “[a]dopting a policy or engaging in a practice that prevents a person from partici-

pating in an education program or activity consistent with the person’s gender identity.” Id.; see

also id. at 41,534-35.

       112.    Moreover, the Proposed Facilities-and-Programs Rule required a recipient to “take

prompt and effective action to end any sex discrimination that has occurred in its education pro-

gram or activity, prevent its recurrence, and remedy its effects.” Id. at 41,572 (to be codified at 34

C.F.R. § 106.41(a)).

       113.    The Department’s new definition of sex discrimination also affected the revised

definition of harassment, which would include “all forms of sex-based harassment, as opposed to

only sexual harassment,” including harassment based on gender identity. Id. at 41,410.




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        114.    The Department also proposed to “make clear” that its Title IX regulations, includ-

ing the Proposed Facilities-and-Program Rule, “would preempt” “any State or local law” conflict-

ing with them. Id. at 41,404; see also id. at 41,569 (to be codified at 34 C.F.R. § 106.6(b)).

        115.    In short, the Proposed Facilities-and-Programs Rule rewrote Title IX to prohibit sex

differentiation that the statute explicitly permits.

        116.    Notably, the Proposed Facilities-and-Programs Rule declined to address the appli-

cation of its redefinition of sex discrimination to athletics. The Department cited “a longstanding

congressional view that athletics presents unique considerations,” and it claimed that Congress

conferred “special authority” on the Department to regulate athletics via the Javits Amendment.

Id. at 41,537-38. The Department said it planned to issue a separate notice of proposed rulemaking

to address “whether and how” the Department should amend its 1975 athletics regulation, includ-

ing by considering “what criteria, if any, recipients should be permitted to use to establish students’

eligibility to participate on a particular male or female athletics team.” Id.

             2. Public Comments

        117.    Underlining the significance of the Department’s reinterpretation of Title IX, as

well as the strength of opposition to it, the Proposed Facilities-and-Programs Rule generated more

than 200,000 comments. 17

        118.    Among others, the State of Tennessee and nineteen co-signing States submitted a

public comment criticizing the Proposed Facilities-and-Programs Rules as unlawful and irrational.


        17
          Comments on the Proposed Facilities-and-Programs Rule are available at
https://www.regulations.gov/document/ED-2021-OCR-0166-0001/comment.




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See generally Tennessee Facilities-and-Programs Comment. The letter articulated three categories

of concerns.

       119.    First, the States argued the Proposed Facilities-and-Programs Rule conflicted with

Title IX. For many of the reasons discussed above, the States explained that the Department’s

interpretation of “sex” to mean “gender identity” contravenes Title IX’s text, structure, and pur-

pose, as well as the Department’s own regulations and historical practice. Id. at 2-5.

       120.    Second, the States cautioned that the Proposed Facilities-and-Programs Rule pre-

sented a number of constitutional issues. For example, the proposal exceeded Congress’s legisla-

tive authority under the Spending Clause of the U.S. Constitution. Id. at 7. And it threatened both

to violate the First Amendment by requiring state-run public colleges to compel speech, and to

infringe parental rights by forcing school administrators to accommodate a child’s gender identity,

regardless of parental preferences. Id. at 6-7.

       121.    Third, the States critiqued the Department’s failure to address crucial policy issues

that undermined the Proposed Facilities-and-Programs Rule, as the APA requires. More specifi-

cally, the Department (i) had not considered the difficulties of authenticating gender identity; (ii)

dismissed well-founded concerns regarding student and faculty safety; and (iii) failed to account

for the sex-based discrimination its proposal would cause. Id. at 8-13.

       122.    Numerous organizations agreed that the Proposed Facilities-and-Programs Rule’s

interpretation of “sex” defied Title IX’s plain meaning. For example, Brigham Young University

and the Council for Christian Colleges and Universities emphasized their commitment to “inclu-

sive communities” and “legislative efforts to protect both LGBTQ rights and religious freedom.”

Comment by Brigham Young University, et al., ED-2021-OCR-0166-226740, at 1 (Sept. 12,

2022), attached as Exhibit E-1. But they argued that the proposal “impose[d] a definition of ‘sex’”
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. . . that extends beyond the plain language Congress provided in the statute” and “[could ]not be

reconciled with the statute’s binary word choice concerning the word ‘sex.’” Id. at 1-2.

       123.    Other organizations argued that the Proposed Facilities-and-Programs Rule’s ex-

pansion of the meaning of “sex” surpassed Congress’s power to legislate under the Spending

Clause. See, e.g., Comment by Alliance Defending Freedom (“The Rule is Legally Unsound and

Procedurally Infirm”), ED-2021-OCR-0166-200280, at 9-12 (Sept. 11, 2022), attached as Exhibit

E-2. “Congress’ ‘intention’ to cover sexual-orientation and gender-identity discrimination under

Title IX must be ‘unmistakably clear in the language of the statute.’ It is not.” Id. at 10 (footnote

omitted) (quoting Gregory v. Ashcroft, 501 U.S. 452, 460 (1991)).

       124.    Still others raised concerns that the Proposed Facilities-and-Programs Rule would

“chill First Amendment protected speech” by applying “Title IX for the first time to discrimination

on the basis of sexual orientation or gender identity.” See, e.g., Comment by Pacific Legal Foun-

dation, ED-2021-OCR-0166-212692, at 2, 7-12 (Sept. 12, 2022), attached as Exhibit E-3. Espe-

cially in combination with amendments to the regulations governing sexual harassment, this ex-

pansion would, the Pacific Legal Foundation predicted, lead to “encroachments into protected

speech,” such as “coaches speaking in opposition to biological males in women’s sports” or “stu-

dents expressing sincere religious beliefs about the fixed nature of gender.” Id. at 7. They also

predicted that professors and others might be “required to use a transgender person’s preferred

pronouns”—i.e., compelled to speak in violation of the First Amendment. Id. at 7-8.

       125.    Other organizations highlighted the many ways in which the Department’s proposal

was arbitrary and capricious. The Department had purported to expand the definition of “sex dis-

crimination” without defining “sex”; acted without evidence supporting its inclusion of some new

“forms of sex discrimination” and not others; failed to address and clearly protect women’s sports;
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and shirked its obligation to consider the safety costs of the Proposed Facilities-and-Programs

Rule, as well as the proposal’s potential to decrease female participation and opportunities. Com-

ment by Ethics & Public Policy Center Scholars, ED-2021-OCR-0166-228237, at 4, 8-10, 23-26

(Sept. 12, 2022), attached as Exhibit E-4.

   C. The Proposed Athletics Rule

           1. The Department’s Proposal

       126.    About a year after proposing the rule challenged here, the Department proposed a

second Title IX rule (the “Proposed Athletics Rule”) addressing the application of its new inter-

pretation of sex discrimination to athletics. See 88 Fed. Reg. 22,860 (proposed Apr. 13, 2023) (to

be codified at 34 C.F.R. pt. 106). It gave interested parties just thirty days (plus two days to avoid

a weekend deadline) to submit comments. Id. at 22,860.

       127.    Amending its regulations governing athletics for the first time since 1975, the De-

partment proposed to add the following provision:

       (b)
       (2) If a recipient adopts or applies sex-related criteria that would limit or deny a
       student’s eligibility to participate on a male or female team consistent with their
       gender identity, such criteria must, for each sport, level of competition, and grade
       or education level:
       (i) Be substantially related to the achievement of an important educational objec-
       tive; and
       (ii) Minimize harms to students whose opportunity to participate on a male or fe-
       male team consistent with their gender identity would be limited or denied.

Id. at 22,891 (to be codified at 34 C.F.R. § 106.41).

       128.    Explaining that its proposed standard was rooted in case law interpreting the Equal

Protection Clause, the Department offered two examples of “important educational objective[s]”

that might qualify under the rule—“ensuring fairness in competition and prevention of sports-re-

lated injury.” Id. at 22,872. But the Department explained that these objectives would not pass

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muster unless they were “substantially related to ensuring fairness in competition in [a] particular

sport at the applicable level of competition and grade or educational level.” Id. at 22,873, 22874-

76. And the Department cautioned that even criteria that were “substantially related” to achieving

an “important educational objective” would violate proposed § 106.41(b)(2) if the recipient

“c[ould] reasonably adopt or apply alternative criteria that would be a less harmful means of

achieving the recipient’s important educational objective.” Id. at 22,877.

       129.      Despite purporting not to “prohibit a recipient’s use of sex-related criteria alto-

gether,” the Department admitted that “few, if any, sex-related eligibility criteria” would be able

to surmount this high hurdle for elementary and middle school students. Id. at 22,860, 22,875.

Such criteria at the high school level would only be “more likely” to satisfy the Proposed Rule.

Id. at 22,875.

       130.      The Department also identified certain justifications that would never qualify as

“important educational objective[s]”: “communicating or codifying disapproval of a student or a

student’s gender identity”; “excluding transgender students from sports”; “requir[ing] adherence

to sex stereotypes”; and “administrative convenience.” Id. at 22,872.

       131.      The Department suggested that the Proposed Athletics Rule would preempt State

laws in at least Indiana, West Virginia, and Idaho. Yet the Department declined to consider any

“federalism implications,” merely inviting States and local officials to review and comment on its

proposal. Id. at 22,866, 22,890.

           2. Public Comments

       132.      Again, Tennessee, joined by sixteen other States, submitted a comment letter rais-

ing many of the same concerns the States expressed about the Proposed Facilities-and-Programs

Rule. See generally Tennessee Athletics Comment. The States also contended that the Proposed
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Athletics rule adopted an unworkable standard for determining whether a recipient may lawfully

exclude students from sports teams that conflict with their sex but align with their gender identity.

Id. at 10-13. And the States argued that the Department had ignored crucial evidence about the

physiological differences between the male and female sexes and failed to support its proposal

with the requisite federalism analysis or any quantitative data. Id. at 14-17. Nor had the Depart-

ment provided States with sufficient time to investigate the full costs of compliance, including

restructuring athletic competitions and paying higher insurance rates due to the heightened risk of

injury, or the costs associated with non-compliance, i.e., the potential loss of Title IX funding and

its consequences to recipients. Id.

        133.    Indiana submitted a separate comment letter objecting to the Proposed Athletics

Rule. See generally Indiana Athletics Comment. Indiana argued that the rewriting of the Title IX

definition of “sex” to include “gender identity” would dismantle the ultimate purpose behind the

statute and “destroy[] the progress made to protect the rights of girls and women . . . over the past

fifty years.” Id. at 1. Indiana also contended that the Proposed Rule failed to consider the physi-

ological differences between men and women, id. at 10-13, circumnavigated Congressional au-

thority, id. at 6-7, and would create obstacles to schools’ protection of safety and fairness for girls

in athletics, id. at 7-10.

        134.    Once again, comments poured in—more than 150,000. 18 Many presented similar

objections to those Tennessee, Indiana, and other States raised. Alliance Defending Freedom ar-

gued, for example, that both the major-questions doctrine and the “federalism clear-notice canon”


        18
           Comments on the Proposed Athletics Rule are available at https://www.regula-
tions.gov/docket/ED-2022-OCR-0143/comments.


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indicate the Department lacked authority for the Proposed Athletics Rule. ADF Athletics Com-

ment at 6-8.

       135.    Others argued the Proposed Athletics Rule would allow men to displace women on

the athletic field, emphasized the scientifically backed differences between men and women that

make competition between the sexes unfair, and highlighted the dangers to girls and women from

allowing males to use women’s facilities and participate in women’s sports. See, e.g., id. at 8-9;

IWLC Comment at 3, 5-7; Comment by Independent Council on Women’s Sports at 2-5 & Exhib-

its.

       136.    The Proposed Athletics Rule likely would have generated even more comments,

except that the Department cut short the comment period to a mere thirty-two days. See Proposed

Athletics Rule, 88 Fed. Reg. at 22,860; cf. Proposed Facilities Rule, 87 Fed. Reg. 41,390, 41,390

(providing about sixty days to comment). It did so despite recognizing that the Proposed Rule was

a “significant” regulatory action subject to Executive Order 13,563, see 88 Fed. Reg. at 22,878,

which provides that a comment period “should generally be at least 60 days.” 19

       137.    Tennessee and twenty-two other States requested that the Department extend the

abnormally short comment period. Tennessee & Co-Signing States, Comment Deadline Extension

Request, ED-2022-OCR-0143-10614 (Apr. 21, 2023). The Department declined.

 VI.   The Final Programs-and-Facilities Rule

       138.    On April 29, 2024, the Secretary published the final version of the Proposed Facil-

ities-and-Programs Rule. See Exhibit A, 89 Fed. Reg. 33,474 (Apr. 29, 2024) (“Final Rule”).


       19
          Executive Order on Improving Regulation and Regulatory Review, Exec. Order No.
13,563, 76 Fed. Reg. 3,821, 3,821-22 (Jan. 18, 2011), https://perma.cc/JF52-7Z6Q.


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Despite widespread opposition throughout the comment process, the Department maintained its

initial approach in substantially identical form.

       139.    The Final Rule fundamentally and unlawfully alters Title IX’s regime in two ways

relevant here. First, the Final Rule expands what constitutes unlawful sex discrimination by in-

corporating a suite of so-called “sex characteristics,” including “gender identity.” Second, the

Final Rule broadly redefines the speech and conduct that constitute sex-based harassment subject

to intervention or punishment by school administrators and private Title IX plaintiffs.

   A. Broadened Definition of “Sex” Discrimination.

           1. Reading “Sex” to Include Gender-Identity Mandate.

       140.    Title IX’s core nondiscrimination mandate prevents recipients of federal educa-

tional funding from engaging in discrimination “on the basis of sex.” 20 U.S.C. § 1681(a) (em-

phasis added). In the Final Rule, the Department says this provision captures “discrimination on

the basis of sex stereotypes, sex characteristics, pregnancy or related conditions, sexual orientation,

and gender identity.” 89 Fed. Reg. at 33,476 (quoting new 34 C.F.R. § 106.10). Even this expan-

sive list is “not exhaustive,” id. at 33,512, making it anyone’s guess what other gender theories

Title IX might now protect in the Department’s view.

       141.    To implement this re-definition of sex-based discrimination, the Final Rule en-

shrines a new way for schools to determine whether practices inflict discriminatory harm based on

students’ gender identity. The Department starts by instructing that schools are permitted to main-

tain certain sex-segregated programs, activities, and facilities. Id. at 33,814. But the Department

then says that schools cannot enforce these sex-based distinctions in a way that “causes . . . more

than de minimis harm.” Id. at 33,814, 33,816 (citing amended 34 C.F.R. § 106.31(a)).



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       142.     Next, the Department determines that it automatically inflicts more than de minimis

harm—and thus violates Title IX—to prohibit any “‘person’” from “‘participating in . . . education

program[s and] activit[ies] consistent with [the person’s] gender identity,’” except as “otherwise

permitted by Title IX or [the Title IX regulations].” Id. at 33,816, 33,819-20 (quoting amended

34 C.F.R. § 106.31(a)).

       143.     While the Final Rule’s jargon is complex, the new bottom line for the nation’s

schools is simple: All federally funded elementary, middle, high, and postsecondary schools must

generally adopt students’ gender identity and ignore their sex, or else face Title IX sanctions.

       144.     The Final Rule’s related provisions make this gender-identity mandate broader still.

For one, the Department explains that § 106.31(a)’s de minimis harm standard protects anyone

even “attempting” to participate in a recipient school’s program or activity. Id. at 33,816. This

category includes “students, employees, applicants for admission or employment, . . . parents of

minor students, students from other institutions . . . , visiting lecturers, or other community mem-

bers” invited to campus. Id. The Final Rule thus grants nearly anyone who sets foot on a school’s

campus a Title IX right to use restrooms and other private facilities designated for members of the

opposite sex.

       145.     In addition, the Final Rule states that it inflicts “more than de minimis harm” on

students to even inquire into or seek confirmation of their gender identity. Id. at 33,819. This

means, the Final Rule continues, that a school cannot require documentary evidence of diagnosed

gender dysphoria or another gender-based condition to permit participation in or use of a sex-

separate activity or facility. Id. It thus violates the Final Rule’s conception of Title IX to even try

to verify the access of those using facilities like an elementary or secondary school girls’ bathroom

or locker room. Id. at 33,818-19.
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       146.    The Final Rule acknowledges that its gender-identity mandate conflicts with sev-

eral other provisions of Title IX, which expressly allow sex-segregated facilities, programs, and

activities. See id. at 33,818. In particular, 20 U.S.C. § 1686 allows “separate living facilities for

the different sexes,” while 20 U.S.C. § 1681(a)(1) through (9) protect sex-based fraternity and

sorority membership practices, programs and activities related to Boys State and Girls State, “fa-

ther-son or mother-daughter” activities, and “‘beauty’ pageants” “limited to individuals of one sex

only,” id. § 1681(6)-(9).

       147.    The Department’s gender-identity mandate does not square with these provisions,

which contemplate dividing facilities and programs based on sex. Rather than pause at how read-

ing the term “sex” to cover gender identity makes a hash of other portions of Title IX’s scheme,

the Department says these exceptions to Title IX’s “general nondiscrimination mandate” mean

schools can lawfully inflict more than de minimis discriminatory injury on students in the circum-

stances covered. 89 Fed. Reg. at 33,816, 33,818-19.

       148.    The Final Rule’s gender-identity mandate further conflicts with Title IX’s original

implementing regulations, which are chock-full of sex-based distinctions. Since the statute’s pas-

sage, the Title IX regulations have “recognized limited contexts in which sex separation or differ-

entiation is allowed.” Id. at 33,814 (citing 87 Fed. Reg. at 41,534). The 1975 regulations still in

effect permit sex-separated “toilet, locker room, and shower facilities.” See 34 C.F.R. § 106.33;

see supra ¶ 72. Likewise, the Department’s regulations have for many decades permitted certain

sex-separate classes and activities, including physical-education and sexual-education classes, as

well as “choruses of one . . . sex.” 34 C.F.R. § 106.34.

       149.    The Final Rule does not address the tension its new reading creates with these

longstanding regulatory provisions. To the contrary, the Department leaves the regulations in
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place and says schools can still maintain the covered sex-separated practices. 89 Fed. Reg. at

33,818-19. But the Final Rule then specifies that schools may no longer apply the regulations’

allowance for sex-separation against males who identify as females or females who identify as

males. Id.

       150.     The Final Rule makes no attempt to explain why allowing recipients to enforce sex-

separate father-son or mother-daughter activities and not sex-separate sexual-education classes or

sex-separate choruses is logically consistent. Nor does it address the reasonableness of prohibiting

uniform enforcement of sex-separate “toilet, locker room, and shower facilities,” 34 C.F.R.

§ 106.33, but allowing enforcement of sex-separate housing policies.

       151.     The Department’s patchwork approach thus maintains regulations purporting to al-

low sex-separated spaces and activities—thereby avoiding the politically unpalatable step of alto-

gether eliminating the longstanding concept of separating the sexes in spaces like bathrooms and

locker rooms. Yet the Department’s Final Rule outlaws schools from enforcing those same sex-

separated bounds when it comes to transgender students—thereby confirming that the Department

really is eliminating schools’ ability to adopt rules dividing spaces and activities based on sex.

             2. Discussion of Sex-Separated Athletics.

       152.     The Department’s treatment of athletics reflects similar regulatory gymnastics.

Plainly, school athletics qualify as a “program or activity” subject to the face of the Final Rule’s

gender-identity mandate. But because of the “enduring” physical differences between men and

women, L.W., 83 F.4th at 484 (quoting Virginia, 518 U.S. at 533), applying the gender-identity

mandate to women’s sports would have a fairness-obliterating impact, cf. supra ¶¶ 53-60. So, the

Department’s Final Rule fashions a bespoke application of its gender-identity mandate to sports

replete with contradictory reasoning.
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       153.     In the Final Rule’s words, “athletic competition raises unique considerations” that

warrant “impos[ing] more than de minimis harm on individual students” in certain circumstances.

89 Fed. Reg. at 33,817, 33,819. And the Department promises to flesh this out on some future

date in a forthcoming rule on athletics with new “criteria” about sex-based separation. But the

Final Rule does not acknowledge the way this position makes clear that schools that continue to

comply with the old athletic regulations will be in violation of the Department’s new interpretation

of Title IX.

       154.     To justify this approach to athletics, the Final Rule first points to the Javits Amend-

ment, which it characterizes as “tolerat[ing] sex separation in athletics.” 89 Fed. Reg. at 33,816-

17. But the Final Rule does not quote any language from the Javits Amendment, id., nor

acknowledge that this law applied only to “intercollegiate” sports programs—not those found in

elementary, middle, and high schools. 88 Stat. 484, 612. Next, the Final Rule points to the

“longstanding athletics regulations” in support of continuing to allow enforcement of sex-separate

athletics in at least some circumstances. 89 Fed. Reg. at 33,817. The Final Rule does not explain

why the Department’s “longstanding . . . regulations” should continue to support enforcement of

sex-separated sports but not sex-separated “toilet, locker room, and shower facilities,” which have

been permitted by regulation for just as long. Compare 40 Fed. Reg. 24,128, 24,141 (1975) (now

codified at 34 C.F.R. § 106.33), with 40 Fed. Reg. at 24,142-43 (now codified at 34 C.F.R.

§ 106.41(b)).

       155.     The Final Rule also does not acknowledge that the Department of Justice (“DOJ”)

under the Biden Administration has taken the opposite view of how Title IX applies to the issue

of gender identity and sports. In the words of DOJ, Title IX’s athletics “implementing regulation

cannot override the statutory prohibition against discrimination on the basis of sex.” U.S.
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Statement of Interest, B.P.J. v. W. Va. State Bd. of Educ., No. 2:21-cv-00316, ECF No. 42 at 6-7

(S.D. W. Va. June 17, 2021) (quoting Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 618 (4th

Cir. 2020)). So, as DOJ concluded: “Any interpretation of Title IX’s regulations that requires

gender identity discrimination would violate the statute’s nondiscrimination mandate.” Id. at 7.

The Department of Education’s regulation-based discussion of Title IX and athletics does not

acknowledge this stark disconnect. 89 Fed. Reg. at 33,816-19.

           3. Bostock-Based Justification for the Gender-Identity Mandate.

       156.    The Final Rule largely rests on Bostock to justify its final approach to sex discrim-

ination, while generally ignoring courts’ and commentators’ contrary analysis, evidence, and ob-

jections. The Final Rule asserts that “Title IX does not use the term ‘on the basis of sex’ in a

restrictive way.” Id. at 33,802. Beyond that, the Department insists that Bostock renders it unnec-

essary to define “sex” because any discrimination on the Final Rule’s broad bases “necessarily

involves consideration of a person’s sex, even if that term is understood to mean only physiological

or ‘biological distinctions between male and female.’” Id. (quoting Bostock, 590 U.S. at 655).

The Final Rule thus effectively abandons the argument that the word “sex” itself encompasses

concepts, like gender identity, that are divorced from sex entirely.

       157.    Casting Bostock as a silver bullet, the Department instead says “because of sex” in

Title VII and “on the basis of sex” in Title IX mean the same thing, so Bostock’s analysis of pro-

tected discrimination controls. Id. at 33,806-07. Absent from the Final Rule is any meaningful

discussion of the reasoning of decisions, such as Meriwether, which held that “principles an-

nounced in the Title VII context [do not] automatically apply in the Title IX context” because

“Title VII differs from Title IX in important respects.” 992 F.3d at 510 n.4; accord Adams, 57



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F.4th at 813-15 (noting Title IX’s “statutory context” precludes reading it to cover gender-identity

discrimination).

       158.    Nor does the Final Rule adequately address Bostock’s language, cf. 89 Fed. Reg. at

33,807, which stressed that its holding did not “sweep beyond Title VII” to laws such as Title IX

and did not address sex-segregated “bathrooms, locker rooms, and dress codes,” 590 U.S. at 681;

see Rubinstein Mem., supra ¶ 96, at 1 (citing same language to conclude Bostock did not require

gender-identity mandate in prior Title IX guidance).

       159.    Blowing past Bostock’s self-described limits, the Department claims it has the right

to extend the Supreme Court’s reasoning to “sex separation in bathrooms [and] locker rooms”

governed by Title IX. 89 Fed. Reg. at 33,818, 33,807-08. That is so, the Final Rule asserts, be-

cause such an expansion would best effectuate Title IX’s purpose of broadly prohibiting sex dis-

crimination—even as it displaces women from athletic podiums and sports teams across the coun-

try. Id. at 33,804 (citing 20 U.S.C. § 1682).

           4. Constitutional and Compliance Concerns.

       160.    The Final Rule denies that the major-questions doctrine precludes its interpretation,

reasoning that the Department has “expertise on what constitutes sex discrimination in education

programs or activities.” Id. at 33,815. The Department also disagrees that its approach is “un-

precedented,” yet does not dispute that this regulation is the first in Title IX’s fifty-year history to

codify a gender-identity mandate. Id. (pointing to case law and recipient practice to justify its

interpretation); see also id. at 33,476, 33,805 (citing no regulation but the proposed rulemaking as

notice to recipients that Title IX covers gender-identity discrimination). Even if the major-ques-

tions doctrine applied, the Department insists that its “authority is especially clear.” Id. at 33,815.

For support, the Department points only to Congress’s general grant of authority to federal
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agencies to “effectuate the provisions of [Title IX],” 20 U.S.C. § 1682, which the Department

claims its novel gender-identity position accomplishes, id. at 33,804-05, 33,815.

        161.   The Final Rule further dismisses comments that its new sex-discrimination view

presents Spending Clause or federalism problems. According to the Department, since the statu-

tory text provided notice that Title IX “means that no recipient may discriminate on the basis of

sex,” recipients received clear notice that they may not discriminate based on gender identity or

any other basis contained in the Department’s non-exhaustive list. Id. at 33,805. And the Depart-

ment claims that the rulemaking has itself provided the required Spending Clause notice regard-

less. Id.

        162.   The Department similarly rejects comments that its reading infringes on States’ and

local governments’ traditional prerogative to regulate public education, all while accepting that

there are “existing State laws and policies that directly conflict with Title IX.” Id. at 33,806. But

the Final Rule declines to “highlight examples” of such conflicts without “relevant facts,” even as

it provides several examples of Title IX’s scope elsewhere. E.g., id. at 33,803 (explaining that it

need not add “gender norms,” “gender expression,” or “intersex traits” to its definition of sex dis-

crimination because each one is represented by another term); see id. at 33,813 (clarifying that

recipients have a duty to prevent menstruation-related harassment, such as “requiring a student to

remove a garment around their waist”).

        163.   In response to commenters’ concerns about overriding parents’ choices regarding

sensitive matters like gender identity, the Final Rule asserts that “nothing in the final regulations

disturbs parental rights.” Id. at 33,821. The Department further states that “deference to [parental]

judgment . . . is appropriate” when a “parent and minor student disagree about how to address sex

discrimination against that student,” and that the regulations don’t prevent a recipient from
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“disclosing information about a minor child to their parent who has the legal right to receive dis-

closures on behalf of their child.” Id. at 33,822.

       164.    But the Final Rule again declines to address any specific factual scenarios raised

by commenters. Id. As a result, nothing in the Final Rule clears up the most pressing questions

for parental rights—like whether the gender-identity mandate means schools must adopt their stu-

dents’ gender identity even over their parents’ or guardians’ objections.

       165.    The Final Rule contains no discussion of other important issues commenters high-

lighted.

       166.    For instance, nowhere in the Final Rule does the Department address the difficulties

associated with authenticating gender identity. See supra ¶ 121; cf. 89 Fed. Reg. at 33,809 (“The

Department appreciates . . . that one person may not know another’s gender identity without in-

quiring unless the other person volunteers the information.”). If anything, the Final Rule exacer-

bates this problem by allowing recipient schools to maintain certain sex-separate spaces yet deny-

ing their ability to verify a person’s basis for entering a space for the opposite sex. Supra ¶ 145.

       167.    The Department’s exceptions from its gender-identity mandate for living facilities

and the statutory exceptions in 20 U.S.C. § 1681(a)(1)-(9) confuse compliance further. The De-

partment doesn’t address whether a recipient may require documentation for participation in these

activities and programs that it may not require for toilets, locker rooms, showers, classes, and other

purposes. Nor does it instruct schools how to determine whether certain spaces—like toilets and

showers in the hall of a dorm complex—fall within “housing” facilities that can exclude by sex,

or “bathroom” facilities that cannot. See generally 89 Fed. Reg. at 33,816-17, 33,820-21.

       168.    In addition, the Department gives short shrift to comments about the privacy con-

cerns and safety risks the Final Rule presents. Tennessee and other commenters cited extensive
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evidence of sexual assaults and other crimes perpetrated by a boy or man who took advantage of

a bathroom’s or locker room’s privacy-enhancing features to victimize a vulnerable female. See,

e.g., Tennessee Facilities-and-Programs Comment at 9-11. Rather than address this evidence head

on, the Department says it “does not agree” such evidence shows that “transgender students pose

a safety risk.” 89 Fed. Reg. at 33,820.

       169.    The Department then casts the real problem as “cisgender” persons’ “preferences

[and] discomfort,” and rejects the notion that “the mere presence of a transgender person in a

single-sex space compromises anyone’s legitimate privacy interest” or poses “a safety risk to cis-

gender students.” Id. (emphasis added). But “courts have long recognized” that persons’ bodily

privacy interests are “significantly heightened when persons of the opposite biological sex are

present.” Grimm, 972 F.3d at 633 (Neimeyer, J., dissenting) (collecting cases). The Department

nonetheless conflates students’ privacy concerns—which have informed practices “universally ac-

cepted … across societies and throughout history,” id.—with “unconstitutional discrimination,”

89 Fed. Reg. at 33,820.

       170.    Moreover, as to safety, the Final Rule requires that just about “any ‘person’” on

campus be allowed to use sex-separate facilities consistent with his or her subjective and internal

sense of gender identity. See supra ¶¶ 144-45; 89 Fed. Reg. at 33,816. The Department nowhere

explains how a school can continue to “make and enforce rules that protect all students’ safety and

privacy,” yet also abide by the Final Rule’s requirement of allowing any person unfettered, unver-

ified access to facilities for the opposite sex. 89 Fed. Reg. at 33,820.

       171.    The Department “declines … to require” recipients to “provide gender-neutral or

single-occupancy facilities,” in part because it “would likely carry significant cost implications.”

Id. But the Department fails to consider that many schools have responded to gender-identity
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mandates by building such facilities for students who do not wish to encounter members of the

opposite sex in private spaces. Nor does the Department consider cost implications from restruc-

turing facilities to comply with the Final Rule’s requiring recipients to allow males to use female

facilities and vice versa.

        172.    The Department lastly dismisses evidence that allowing males to participate in ac-

tivities previously reserved for females will harm women’s opportunities. It states in conclusory

fashion that extending Title IX’s protections to gender identity “in no way lessens the force of

Title IX’s protections against discrimination that limits educational opportunities for girls and

women.” Id. at 33,808. But the Department does not address commenters’ evidence that males

have already taken championships, titles, scholarships, and opportunities to compete from girls

and women in the athletics context—opportunities that correlate with female success in other

fields. See supra ¶¶ 133-35. Nor does it recognize the possibility that males who identify as

female could take other educational opportunities from women in a world that is often “zero-sum.”

Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 218-19

(2023) (noting “[a] benefit provided to some [college] applicants but not to others necessarily ad-

vantages the former group at the expense of the latter”). 20

        173.    The Department also fails to consider evidence of the physical differences between

males and females that justify sex-separation in sports and elsewhere. See supra ¶¶ 133, 135.

Instead, the Final Rule states without explanation or evidence that “physical differences” generally


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          See also, e.g., Amanda Musa, Transgender swimmer Lia Thomas nominated for NCAA
Woman of the Year Award, CNN (July 15, 2022), https://perma.cc/RXU4-Z3S4; Female Athletes
Sue the NCAA, Independent Council on Women’s Sports, https://www.iconswomen.com/take-on-
the-ncaa/#filing (last visited Apr. 26, 2024).


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cannot justify enforcing sex separation—contrary to the premise of Title IX’s express exclusions

and longstanding regulatory history. 89 Fed. Reg. at 33,818-19. And the Final Rule leaves schools

to largely guess at how to apply its reasoning regarding sports, beyond making clear that schools

will violate Title IX by enforcing uniform rules against dividing sports based on sex rather than

gender identity. Id. at 33,817.

       174.    The Department identifies many millions in costs arising from compliance with the

Final Rule’s gender-identity mandate. See id. at 33,878; see also infra ¶¶ 174, 188. But it claims

that the “non-monetary benefits of providing clarity and recognizing the broad scope of Title IX’s

protections”—unquantified benefits—“justify” all the associated expenses. 89 Fed. Reg. at

33,877, 33,878. The Department does not account for the “non-monetary” harms of allowing

women to be displaced from sports teams, scholarships, championships, and awards by men.

   B. Broadened Definition of Prohibited “Harassment.”

       175.    In addition to expanding the meaning of “sex” discrimination, the Final Rule wid-

ens the speech and expression subject to Title IX’s limit on “hostile environment sex-based har-

assment.” Id. at 33,496.

       176.    As discussed, the 2020 Rule aligned the definition of Title IX harassment with both

the Supreme Court’s formulation in Davis and First Amendment considerations. The 2020 Rule

did so by requiring that harassment involve conduct that is “severe, pervasive, and objectively

offensive.” Supra ¶¶ 85-86.

       177.    The Department rejects the 2020 Rule’s approach and replaces it with a new defi-

nition of harassment that is broader in critical ways. See 89 Fed. Reg. at 33,884 (amending 34

C.F.R. § 106.2). First, harassment need only be “severe” or “pervasive”—meaning even a “single

serious” instance of unwelcome speech, or a pattern of non-severe incidents, might count. Id. at
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33,500. Second, harassment covers conduct that is “subjectively and objectively” offensive as

measured from the “the complainant’s position”—meaning transgender persons’ views on what

harms gender identity controls the analysis. Id. at 33,510. Third, harassment is anything that

“limits” a person’s “ability to participate” in an educational program or activity—requiring only

“some impact” on a student’s ability to participate, without any “particular limits or denials.” Id.

at 33,511.

       178.    The Final Rule declines to limit its new definition of harassment to speech that

occurs on school campuses. Instead, the Title IX harassment obligations are triggered whenever

a school employee “has information about conduct among students that took place on social media

or other platforms.” Id. at 33,535. Online conduct subject to harassment inquiry could include

“sex-based derogatory name-calling” or “sending sex-based … cartoons,” among any other “sex-

based conduct” that might be “reasonably” viewed as harassing. Id. at 33,515.

       179.    The Department acknowledges commenters’ concern that the new definition of har-

assment will infringe individuals’ “freedom of speech, assembly, press, and religion.” Id. at

33,502. Yet the Final Rule responds only with boilerplate language that it does not “restrict[] any

rights that would otherwise be protected from government action by the First Amendment.” See,

e.g., id. at 33,500, 33,503, 33,506, 33,507, 33,508, 33,535, 33,542, 33,559.

       180.    In downplaying commenters’ First Amendment concerns, the Department does not

discuss its prior guidance, enforcement history, or cited EEOC guidance, all of which set out a

narrow view of protected speech in the gender-identity context. See supra ¶ 82; 89 Fed. Reg. at

33,516 (incorporating EEOC gender-identity guidance); see also EEOC, Proposed Enforcement

Guidance on Harassment in the Workplace, 88 Fed. Reg. 67,750 (Oct. 2, 2023) (permitting em-

ployees to “misgender” co-workers violates Title VII), https://perma.cc/VY3Y-RCE8.
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       181.    The Final Rule likewise declines to address commenters’ particular examples of

speech-infringing enforcement of Title IX because it cannot judge “factual scenarios” before they

arise. E.g., 89 Fed. Reg. at 33,507. The Department for instance declines to say whether so-called

“misgendering” may constitute actionable harassment because addressing this topic is allegedly

too “fact-specific.” Id. at 33,516. Yet the Final Rule elsewhere provides “[e]xamples” of actions

Title IX might require or cover, id. at 33,515, 33,525, as does EEOC’s harassment and related

guidance, which the Department elsewhere cites. Supra ¶ 162; EEOC, Sexual Orientation and

Gender Identity (SOGI) Discrimination, https://perma.cc/W3MG-DEZB (last visited Apr. 27,

2024) (cited at 89 Fed. Reg. at 33,516) (“intentionally and repeatedly using the wrong name and

pronouns to refer to a transgender employee could contribute to an unlawful hostile work environ-

ment”).

       182.    In all events, the Final Rule suggests that it could overcome any First Amendment

challenge. The Department explains that “eradicating discrimination”—including, in the Final

Rule’s view, failure to adopt students’ gender identities—is the type of compelling interest that

could satisfy strict scrutiny and override limits on inhibiting otherwise protected speech or reli-

gious free exercise. 89 Fed. Reg. at 33,503 (citation omitted).

       183.    The Final Rule instructs that Title IX administrators are to take “prompt[]” action

to investigate and respond to any speech that “reasonably may” constitute harassment. Id. at

33,509, 33,533, 33,562. Such responses might include “educational programming” or “employee

training,” id. at 33,599, as well as “emergency removal” of alleged offenders from educational

programs and activities, id. at 33,616; see also id. at 33,890 (amended 34 C.F.R. § 106.44(h)).

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       184.    Putting all of this together, the resulting Title IX regime leaves schools to navigate

a conflicting web of rules for assessing whether and how they apply sex-based distinctions in the

educational sphere. But at least a few things are clear. No State or recipient school can exclude a

student from using the bathroom, locker room, or other private changing or showering space that

aligns with that student’s self-professed gender identity, no matter their sex. No State or recipient

school can maintain laws or rules that require eligibility for all sports teams and competitions to

be based on athletes’ sex. And no State can protect teachers’ and students’ right not to speak in

ways that a student might view as offensive to the student’s subjective gender identity.

       185.    The Final Rule’s effective date of August 1, 2024, means that these and other De-

partment directives will apply when the next school year begins. Id. at 33,474.

                          IRREPARABLE HARM TO PLAINTIFFS

       186.    The Department’s Final Rule inflicts significant, irreparable harms on Plaintiff

States that only prompt judicial intervention can redress.

       187.    First, Plaintiff States would suffer the “irreparable harm of nonrecoverable compli-

ance costs.” Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023) (quoting Thunder Basin Coal

Co. v. Reich, 510 U.S. 200, 220-21 (1994) (Scalia, J., concurring in part and in the judgment)); cf.

Kentucky v. Fed. Highway Admin., No. 5:23-cv-162-BJB, ---F. Supp. 3d----, 2024 WL 1402443,

at *3 (W.D. Ky. Apr. 1, 2024) (noting such costs establish an injury for standing purposes).

       188.    The Final Rule acknowledges as much: It states that § 106.32(1)(2) would require

schools that do not already have policies governing the directed treatment of students based on

gender identity to incur costs related to “review” of current policies, “updating of policies or train-

ing materials,” and “train[ing] of employees or students on gender identity discrimination.” 89

Fed. Reg. at 33,876. Indeed, the Department estimates that simply “reading and understanding the
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final regulations” will have a one-time cost of more than $24 million across all recipients. Id. at

33,867. Providing new training for school administrators, faculty and teachers, and Title IX coor-

dinators will require many more millions—as the Final Rule also concedes. Yet sovereign im-

munity means Plaintiff States could not later recover these substantial compliance sums, showing

textbook irreparable harm. Biden, 57 F.4th at 556; see Ala. Ass’n of Realtors v. HHS, 594 U.S.

758, 765 (2021) (“no guarantee of eventual recovery” of monies owed was irreparable harm).

       189.    Second, enforcement of the Final Rule threatens to collectively strip Plaintiff States

of billions of dollars in federal Title IX funds and to impose substantial penalties through private

suits. This severe financial exposure in turn endangers important programs that serve attendees of

Plaintiff States’ schools and higher-education institutions.

       190.    The Tennessee legislature, for example, has a constitutional obligation to “provide

for the maintenance, support and eligibility standards of a system of free public schools.” Tenn.

Const. art. XI, § 12. To that end, the Tennessee Department of Education directly operates several

special schools—the Tennessee School for the Blind, Tennessee School for the Deaf (encompass-

ing three campuses), and the Alvin C. York Agricultural Institute—as well as twenty-seven public

schools in the Achievement School District. All these schools receive federal funds and are thus

Title IX recipients.

       191.    Similarly, the Indiana General Assembly has a constitutional obligation to “encour-

age, by all suitable means, moral, intellectual, scientific, and agricultural improvement” and “to

provide, by law, for a general and uniform system of Common Schools, wherein tuition shall be

without charge, and equally open to all.” Ind. Const. art. VIII, § 1. The Indiana Department of

Education operates two special schools—the Indiana School for the Blind and Visually Impaired



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and the Indiana School for the Deaf, id. art. IX, § 1—as well as 1,769 public schools 21 across the

state as of 2022. All these schools receive federal funds and are thus Title IX recipients. Both

Tennessee’s and Indiana’s special schools maintain sex-separated sports teams for multiple sports.

Additionally, Tennessee’s special schools maintain separate bathroom and locker-room facilities

for males and females.

       192.     Kentucky’s General Assembly, likewise, has a constitutional obligation to “pro-

vide for an efficient system of common schools throughout the State.” Ky. Const. § 183. In Ken-

tucky, there are 1,477 public schools serving primary and secondary school-aged children. Ken-

tucky also operates the Kentucky School for the Blind and the Kentucky School for the Deaf. All

these schools receive federal funds and are thus Title IX recipients.

       193.    The Ohio General Assembly is constitutionally obligated to “secure a thorough and

efficient system of common schools throughout the State,” as well as to provide “by law for the

organization, administration and control of the public school system of the state.” Ohio Const. art.

VI, §§ 2-3.

       194.    The Virginia General Assembly has a constitutional obligation to “provide for a

system of free public elementary and secondary schools for all children of school age throughout

the Commonwealth.” Va. Const. art. VIII, § 1. There are 1,944 public schools serving elementary

and secondary school-aged children in Virginia. Virginia also operates the Virginia School for the

Deaf and the Blind. All these schools receive federal funds and are thus Title IX recipients.


       21
          Public Education in Indiana, Ballotpedia, https://perma.cc/CGU6-EVPY (last visited
Apr. 18, 2024).




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       195.    West Virginia has fifty-five school districts as created by the West Virginia legis-

lature. See W. Va. Code § 18-1-3. These school districts “are a part of the educational system of

the state” and are “established in compliance with article 12, section 1, of [West Virginia’s] Con-

stitution.” Krutili v. Bd. of Educ. of Butler Dist., 129 S.E. 486, 487 (W. Va. 1925). All the districts

in West Virginia receive federal funds—administered by the West Virginia Department of Educa-

tion—and are thus subject to Title IX.

       196.    The special schools in Tennessee, Indiana, Kentucky, and Virginia maintain sex-

separated sports teams for multiple sports. Additionally, Tennessee’s and Virginia’s special

schools maintain separate bathroom and locker-room facilities for males and females.

       197.    Tennessee is also home to nearly 150 “[l]ocal education agencies”—school dis-

tricts—that Tennessee’s legislature creates or authorizes. Tenn. Code Ann. § 49-1-103. Indiana

has 291 public school districts that the Indiana General Assembly established as of 2022. Of Ken-

tucky’s 171 school districts, 120 are public school districts and 51 are independent districts, which

are run by local municipalities. In Virginia, students are educated within 131 public-school divi-

sions, which are created by the Virginia Board of Education subject to the criteria and conditions

of the General Assembly. See Va. Const. art. VIII, § 5. All of these districts receive federal funds,

administered by their respective States, and are thus subject to Title IX.

       198.    Altogether, educational programs and activities funded through the Tennessee De-

partment of Education received an estimated $1.5 billion in federal funds in Fiscal Year 2022-23,

making up approximately 18% of the Tennessee Department’s budget. The Indiana Department

of Education received an estimated $761,425,610 in federal funds in Fiscal Year 2022-23 for




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elementary and secondary level education programs. 22 Kentucky received over $617 million dol-

lars in federal funding for primary and secondary level education programs in 2023. 23 In the prior

year, federal funds accounted for over 17% of district funding of primary and secondary schools

in Kentucky. 24 In 2023, the State of Ohio received over $5.2 billion in funding from the U.S.

Department of Education and expects to receive additional funds of equal or greater amount in

future fiscal years. 25 Virginia received an estimated $1.48 billion for public school educational

programs and activities in the Fiscal Year 2022, making federal funds an estimated 15.5% of the

total estimated annual budget. The West Virginia Department of Education received an estimated

$731,500,000 in federal funds in Fiscal Year 2022-23, making up approximately 26.63% of the

West Virginia Department’s budget.

       199.       Public and special schools in the Plaintiff States use such federal funds to provide

supplemental educational support and materials to students, offer non-academic support for stu-

dents, provide professional learning opportunities for teachers, offer technology for student use,

and for other purposes. Losing these funds would require these schools to eliminate certain ser-

vices or seek new funding for them—and there is no guarantee that any other funding could be

found to cover the lost funding.

       200.       Tennessee’s legislature also “establish[es] and support[s] . . . postsecondary educa-

tional institutions, including public institutions of higher learning.” Tenn. Const. art. 11, § 12.


       22
          See U.S. Dep’t of Educ., Fiscal Years 2023-2025 State Tables for the U.S. Dep’t of Educ.
(Mar. 15, 2024), https://perma.cc/753G-GG3H; see also https://perma.cc/92PL-8VKD.
       23
            Id.
       24
            Ky. Dep’t of Educ., School Report Card (2022), https://perma.cc/V7GR-57YP.
       25
            See supra note 22.


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Tennessee currently has fifty-one public institutions of higher learning. Public higher education

institutions in Tennessee received an estimated $4.2 million in federal funds administered by the

U.S. Department of Education in Fiscal Year 2022-23, subjecting them to Title IX.

        201.      In Indiana, the Indiana General Assembly has established seven public institutions

of higher education. See generally Ind. Code § 21-19 et. seq. Public higher education institutions

in Indiana received an estimated $622,469,030 in federal funds in Fiscal Year 2022-23, subjecting

them to Title IX. 26

        202.      There are forty-two postsecondary institutions in Kentucky. Twenty-four are pub-

lic institutions, including sixteen community and technical schools. All postsecondary institutions

in Kentucky are subject to Title IX as recipients of federal funds. For example, each postsecondary

institution receives Pell Grants. 27 In 2023, Kentucky postsecondary institutions received over

$423 million in Pell Grant funds. 28 For the 2024-2025 school year, Kentucky’s community and

technical schools anticipate receiving over $294 million in federal funds, while the four-year pub-

lic postsecondary institutions expect to receive over $936 million in federal funds. 29

        203.      The Commonwealth of Virginia has fifteen public four-year institutions of higher

education, twenty-four public two-year institutions of higher education, five regional higher edu-

cation centers, and one public/private medical school. Public higher education institutions in


        26
             See supra note 22.
        27
         See, e.g., U.S. Dep’t of Educ., Distrib. of Fed. Pell Grant Program Funds by Instit.,
2017-18 Award Year (last modified Feb. 26, 2020), https://perma.cc/73LX-535V.
        28
             See supra note 22.
        29
        See An Act relating to appropriations, 24 RS HB 6/VO in Part, https://perma.cc/RQT2-
ZM9X (last visited Apr. 29, 2024).



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Virginia received over $2 billion in federal funds in the federal Fiscal Year 2022-23, subjecting

them to Title IX.

       204.    West Virginia’s legislature has established at least twenty public institutions of

higher learning. W. Va. Code § 18B-2A-1(b). Annually, public higher education institutions in

West Virginia receive hundreds of millions of dollars in federal funds, subjecting them to Title IX.

       205.    These postsecondary institutions use federal funds for many purposes, including

student loans, student grant aid, research and service, veterans’ affairs, and funding historically

black colleges and universities. Losing Title IX funds would require those institutions to eliminate

certain educational services or seek new funding. Additionally, students who rely on federal funds

to attend those institutions might have their education interrupted, resulting in disenrollment or

abandonment of a degree or other program.

       206.    By a combination of law and policy, Tennessee public higher-education institutions

that offer intercollegiate or intramural athletic teams or sports for “females,” “women,” or “girls”

may not allow students of the male sex, as identified by a student’s original birth certificate or

other evidence, to participate on those teams or in those sports. Tenn. Code Ann. § 49-7-180;

TSSAA Handbook. A similar law exists in other Plaintiff States. See Ind. Code § 20-33-13-4; W.

Va. Code § 18-2-25d. Under Kentucky law, public and private postsecondary education institu-

tions that are members of a national intercollegiate athletic association must “designate all inter-

collegiate and intramural athletic teams, activities, sports, and events” as “Men’s,” “Women’s,” or

“Coed.” Ky. Rev. Stat. § 164.2813(1). Institutions are required to prohibit a male from competing

in any “intercollegiate or intramural athletic team, activity, sport or event designated as

‘women’s.’” Id. Eligibility to participate—as well as to use an athletic facility designated for the



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exclusive use of a single sex—is determined by the student’s sex at birth. Ky. Rev. Stat.

§ 164.2813(2).

       207.      Plaintiff States thus face a credible threat that the Department of Education will

enforce the Final Rule against them and terminate federal assistance to noncomplying state entities.

See 20 U.S.C. § 1682; cf. 89 Fed. Reg. 33,543 (amended § 106.6(b)) (“clarify[ing]” that Title IX

regulations preempt “any State or local law” conflicting with them).

       208.      Third, Plaintiff States would be unable to enforce a number of their own laws with-

out coming into conflict with the Final Rule. For example, in many cases, Plaintiff States’ educa-

tional institutions that offer male-female sports would be forced to choose between complying

with the State’s statutes and existing rules and complying with the Final Rule’s prohibition on

gender-identity discrimination. See, e.g., Tenn. Code Ann. § 49-6-310(a) (providing that “[a] stu-

dent’s gender for purposes of participation in a public middle school or high school interscholastic

athletic activity or event must be determined by the student’s sex at the time of the student’s

birth”); TSSAA Handbook (providing for boys and girls teams); Tenn. Code Ann. § 49-7-180

(similar for public higher-education institutions); see also Ind. Code § 20-33-13-4 (providing that

“[a] male, based on a student’s biological sex at birth in accordance with the student’s genetics

and reproductive biology, may not participate on an athletic team or sport designated under this

section as being a female, women’s, or girls’ athletic team or sport”); Ky. Rev. Stat.

§ 156.070(2)(g)(3) (“An athletic activity or sport designated as ‘girls’ for students in grade six (6)

through twelve (12) shall not be open to members of the male sex.”); Ky. Rev. Stat.

§ 164.2813(1)(b) (prohibiting a male from competing in any team, activity, or event designated as

“‘women’s’” at a postsecondary institution).



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       209.    Moreover, unlike the Final Rule, Tennessee law does not require any educational

institution to allow students to access bathrooms and facilities “consistent with their gender iden-

tity” and provides that public schools may not accommodate a student’s desire for greater privacy

in multiple-occupancy facilities by allowing access to a restroom or changing facility that is des-

ignated for use by members of the opposite sex, as determined by immutable biological sex, while

members of the opposite sex are present or could be present. Compare 89 Fed. Reg. at 33,816,

33,818-20, with, Tennessee Accommodations for All Children Act, Tenn. Code Ann. § 49-2-801

et seq.; see also Tenn. Code Ann. §§ 49-2-802(2), (4) (incorporating Tenn. Code Ann. § 1-3-

105(c)), -803(a). Given that Tennessee gives public school students, teachers, and employees a

private right of action for monetary damages against a school that “intentionally allow[s] a member

of the opposite sex to enter [a] multi-occupancy restroom or changing facility while other persons

were present,” Tenn. Code Ann. § 49-2-805(a), Tennessee schools would also face potential lia-

bility arising from compliance with the Final Rule’s mandate that students be allowed to use facil-

ities associated with their gender identity.

       210.    In Kentucky, it is clear that educational institutions will be asked to choose between

following the Final Rule and state law. Kentucky Revised Statutes § 158.189 requires local boards

of education to adopt policies that do “not allow students to use restrooms, locker rooms, or shower

rooms that are reserved for students of a different biological sex.” Interscholastic athletics for

students in grades six through twelve must be designated as “Boys,” “Girls,” or “Coed,” and the

sex of a student for the purpose of determining eligibility to participate must be determined by the

student’s sex at the time of birth. Ky. Rev. Stat. § 156.070(2)(g). Additionally, athletic activities

or sports designated as “Girls” “shall not be open to members of the male sex.” Ky. Rev. Stat. §



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156.070(2)(g)(3). The language of these statutes leaves no room for Kentucky schools to allow

access to bathrooms or locker rooms inconsistent with the student’s sex.

       211.    Similarly, West Virginia would be unable to enforce many of its own laws without

conflicting with the Final Rule’s prohibition on gender-identity discrimination. For instance, West

Virginia law provides that “[a]thletic teams or sports designated for females, women, or girls shall

not be open to students of the male sex where selection for such teams is based upon competitive

skill or the activity involved is a contact sport.” W. Va. Code § 18-2-25d(c)(2). This separation

applies to “teams or sports that are sponsored by any public secondary school or a state institution

of higher education.” Id. § (c)(1). And sex-based sports teams have been part of West Virginia’s

public education system for at least 30 years. See, e.g., W. Va. Code R. § 127-2-3(3.8) (stating

that “[s]chools may sponsor separate teams for members of each sex where selection for such

teams is based upon competitive skill”). Further, when a student is “aggrieved by a violation” of

the law separating male and female sports, West Virginia law creates a private cause of action for

“injunctive relief and actual damages.” W. Va. Code § 18-2-25d(d)(1). So West Virginia schools

would face potential liability under this provision from being forced to comply with the Final Rule.

       212.    The Final Rule would also preempt Ohio laws governing athletics, see 87 Fed. Reg.

at 41,404, causing irreparable harm to the State of Ohio’s sovereign lawmaking authority. The

Ohio Revised Code provides that “[e]ach school that participates in athletic competitions or events

administered by an organization that regulates interscholastic athletic conferences or events shall

designate … [s]eparate teams for participants of the female sex within female sports divisions”

and that “[n]o school, interscholastic conference, or organization that regulates interscholastic ath-

letics shall knowingly permit individuals of the male sex to participate on athletic teams or in

athletic competitions designated only for the female sex.” Ohio Rev. Code § 3313.5320(A), (B).
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And Ohio law similarly requires that “[e]ach state institution of higher education or private college

that is a member of the national collegiate athletics association, the national association of inter-

collegiate athletics or the national junior college association shall designate … [s]eparate teams

for participants of the female sex within female sports divisions” and that “[n]o state institution

or private college . . . shall knowingly allow individuals of the male sex to participate on athletic

teams or in athletic competitions designated for only participants of the female sex.” Id.

§ 3345.562(B), (C).

       213.    Similarly, the Final Rule’s prohibition of harassment based on gender identity could

conflict with Plaintiff States’ protections of student and faculty speech. Even before finalizing the

Final Rule, the Biden Department, like the Obama Department before it, used Title IX investiga-

tions to promulgate its view of “faculty misgendering” as evidence of a “hostile environment based

on sex” in violation of Title IX. 30 And beyond such enforcement actions, educational institutions

face the threat of private suit for violations of Title IX. See Davis, 526 U.S. at 642-43, 650.

       214.    By contrast, Tennessee law provides that public school teachers and employees are

not “[r]equired to use a student’s preferred pronoun when referring to the student if the preferred

pronoun is not consistent with the student’s biological sex.” Tenn Code Ann. § 49-6-5102(b); see

also id. § 49-7-2405 (protecting speech in higher education institutions). Indeed, Tennessee law


       30
          Department of Education, U.S. Department of Education’s Office for Civil Rights An-
nounces Resolution of Sex-Based Harassment Investigation of Taft College in California (Oct. 19,
2023), https://perma.cc/47U8-VP2N (finding a faculty comment that a student’s physical appear-
ance was not “feminine enough,” an administrator’s exclusion of the student in addressing female
students as “ladies,” and “almost daily . . . faculty misgendering” created a hostile environment);
see also, e.g., Department of Education, U.S. Department of Education’s Office for Civil Rights
Resolves Sex-Based Harassment Investigation in Rhinelander School District in Wisconsin (July
6, 2023), https://perma.cc/79G5-F9T6 (categorizing teachers’ use of “incorrect pronouns” as an
allegation of harassment).

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requires that a student “shall be enrolled in the name that appears on the student’s certificate of

live birth” and “shall be known by that lawful name in all facets of school records, report cards,

student testing and any school activities.” Id. § 49-6-5106. Tennessee law also provides students

a right to “[e]xpress religious viewpoints in a public school,” id. § 49-6-2904, including those that

reject the separation of “biological sex” and “gender.”

       215.    Similarly, in Indiana, the law protects the religious viewpoints of students and their

parents, including those that reject the separation of “biological sex” and “gender.” See Ind. Code

§ 20-33-12-2 (providing that “[a] public school shall treat a student’s voluntary expression of a

religious viewpoint, if any, on an otherwise permissible subject in the same manner the public

school treats a student’s voluntary expression of a secular or other viewpoint on an otherwise per-

missible subject and may not discriminate against the student based on a religious viewpoint ex-

pressed by the student on an otherwise permissible subject”).

       216.    Kentucky law prohibits the Board of Education and the Kentucky Department of

Education from requiring or recommending policies for the use of pronouns that do not align with

the student’s sex as determined at birth. Ky. Rev. Stat. § 158.191(5)(b). Additionally, local school

districts cannot require school personnel or students to use pronouns inconsistent with a student’s

sex. Id. § 158.191(5)(c).

       217.    Further, the Constitution of Virginia protects the free-exercise and free-speech

rights of Virginia citizens. In Vlaming v. West Point School Board, the Supreme Court of Virginia

held that a teacher who was terminated by a school board for refusing to violate his religious beliefs

by using a transgender student’s preferred pronouns stated a legally viable free-exercise claim

under the Constitution of Virginia. 895 S.E.2d 705, 724 (Va. 2023). Similarly, the teacher stated

a legally viable “compelled speech” claim under the Constitution of Virginia. See id. at 743.
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       218.    As the court held in Tennessee v. U.S. Department of Education, States have a “sov-

ereign interest[] in enforcing their duly enacted state laws.” 615 F. Supp.3d at 841. In light of the

conflict between Plaintiff States’ laws and the Final Rule, Plaintiffs “will continue to face substan-

tial pressure” to disregard their own laws “in order to avoid material legal consequences.” Ten-

nessee, 615 F. Supp. 3d at 841; cf. LaShonda, 526 U.S. at 657-58 (Kennedy, J., dissenting)

(“[M]any school districts, desperate to avoid Title IX peer harassment suits, will adopt whatever

federal code of student conduct and discipline the Department of Education sees fit to impose on

them.”). And any time “a State is [prevented] from effectuating statutes enacted by representatives

of its people,” it suffers irreparable harm. Thompson v. DeWine, 976 F.3d 610, 619 (6th Cir. 2020);

see also Tennessee, 615 F. Supp. 3d at 841 (collecting cases).

       219.    And fourth, the Final Rule would force individual citizens of Plaintiff States to en-

dure a variety of irreversible harms. To name just a few: Students of both sexes would experience

violations of their bodily privacy by students of a different sex. Cf. Fortner v. Thomas, 983 F.2d

1024, 1030 (11th Cir. 1993) (recognizing that “most people have ‘a special sense of privacy in

their genitals, and involuntary exposure of them in the presence of people of the other sex may be

especially demeaning and humiliating’” (citation omitted)) (collecting cases); Skinner v. Ry. Labor

Execs.’ Ass’n, 489 U.S. 602, 626 (1989) (“[E]xecretory function[s are] traditionally shielded by

great privacy.”). In an effort to avoid such harm, schools might be forced to expend limited tax-

payer resources on updating restrooms and other facilities to ensure student privacy. The risk of

“inappropriate sexual behavior” toward other students would be heightened too. Cf. Doe v. Metro.

Gov’t of Nashville & Davidson Cnty., 35 F.4th 459, 464 (6th Cir. 2022) (addressing allegations of

students taking advantage of semi-private school spaces, including bathrooms, to engage in “un-

welcome sexual contact”).
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       220.    Female athletes, for their part, would face unfair competition from physiologically

superior competitors, would lose games, awards, and even championships to males, and would be

exposed to a higher risk of injury. See IWF Report at 41-50; see also supra ¶¶ 53-60. Scholarships

awarded to women would likely decrease as a result—and thereby, educational opportunity for

women would decrease. And depending on the Rule’s effective date in a particular State, schools

could be forced to adopt new policies in the middle of the school year, creating potential disrup-

tions to student learning and long-term learning losses. 31 Judicial relief would avert these harms.

                                     CLAIMS FOR RELIEF

                                      CLAIM I
                      Violation of APA, 5 U.S.C. § 706(2)(A), (C)
     Agency Action Not in Accordance with Law and in Excess of Statutory Authority

       221.    All allegations above are incorporated herein by reference.

       222.    The Department of Education is a federal agency within the meaning of the APA.

       223.    The Final Rule is “final agency action,” 5 U.S.C. § 704, because it was published

in the Federal Register following notice-and-comment rulemaking. See 89 Fed. Reg. 33,474 (Apr.

29, 2024). The Final Rule is the “‘consummation’ of the agency’s decisionmaking process.” Jama

v. Dep’t of Homeland Sec., 760 F.3d 490, 495 (6th Cir. 2014) (quoting Bennett v. Spear, 520 U.S.

154, 178 (1997)). And “legal consequences will flow” from the Final Rule, see id. at 496 (quoting

Bennett, 520 U.S. at 178), because Plaintiff States’ schools must now comply with the Rule or else

risk their federal education funding and potential liability under Title IX’s private right of action,


       31
          Cf. Denise-Marie Ordway, When Schools shut down: How education interruptions can
hurt student achievement, The Journalist’s Resource (Aug. 28, 2021), https://perma.cc/VBM9-
BV5L (collecting research).




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see, e.g., S.C. v. Metro. Gov’t of Nashville, 86 F.4th 707, 710 (6th Cir. 2023) (affirming damages

award in private Title IX suit).

       224.    Plaintiff States lack another adequate remedy in court, and no rule requires that they

appeal to a superior agency authority before seeking judicial review. 5 U.S.C. § 704.

       225.    The APA requires courts to set aside and vacate agency action that is “not in ac-

cordance with law” or “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(A), (C); Sierra Club v. EPA, 60 F.4th 1008, 1021 (6th Cir.

2023) (“Reviewing courts certainly have the power to vacate an agency action they find unlaw-

ful.”); Long Island Power Auth. v. FERC, 27 F.4th 705, 717 (D.C. Cir. 2022) (“Vacatur is the

normal remedy under the APA, which provides that a reviewing court ‘shall … set aside’ unlawful

agency action.” (quoting 5 U.S.C. § 706(2)).

       226.    The Department’s redefinition of sex discrimination is unlawful because it contra-

venes Title IX’s text and the meaning of the Department’s own regulations.

       227.    First, the “‘traditional tools’ of statutory interpretation” confirm that the Depart-

ment’s interpretation is “contrary to the clear meaning of” Title IX itself. Arangure v. Whitaker,

911 F.3d 333, 336 (6th Cir. 2018) (quoting Chevron USA, Inc. v. Nat. Res. Def. Council, Inc., 467

U.S. 837, 843 n.9 (1984)). Congress expressly limited Title IX’s coverage to discrimination “on

the basis of sex,” and the ordinary public meaning of “sex” at the time of Title IX’s enactment

unambiguously excludes consideration of a person’s gender identity. See Adams, 57 F.4th at 812,

815. And Bostock, which assumed that “sex” “refer[ed] only to biological distinctions between

male and female” and held merely that Title VII bars hiring and firing based on sexual orientation

and transgender status, does not require a different reading. See id. at 813-14 (quoting Bostock,

590 U.S. at 655); see also Bostock, 590 U.S. at 681. Indeed, this Circuit has repeatedly recognized
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that Bostock’s “reasoning applies only to Title VII.” L.W., 83 F.4th at 484 (collecting cases); cf.

id. at 480-81 (holding that laws barring a girl’s access to testosterone to treat gender dysphoria,

but not a boy’s for other purposes, do not discriminate based on sex). The Department nonetheless

reads Title IX’s unambiguous prohibition on “sex-based” discrimination to cover action that con-

flicts with an individual’s gender identity. And it says this gender-identity mandate applies to

private bathrooms and shower facilities, among other spaces, despite the statute’s clear provision

for “living facilities” to be separated between the sexes. See 20 U.S.C. § 1686; see Adams, 57

F.4th at 815 (equating “bathrooms” with “living facilities”).

       228.    “[A]n agency may not rewrite clear statutory terms to suit its own sense of how the

statute should operate.” Util. Air Reg. Grp. v. EPA, 573 U.S. 302, 328 (2014). Because the De-

partment’s interpretation contravenes Title IX’s plain meaning, it exceeds the Department’s lawful

authority to “effectuate” Title IX’s provisions. 20 U.S.C. § 1682; see also Util. Air, 573 U.S. 302,

327-28, 334; 5 U.S.C. § 706(2). This Court should adopt the reasoning of several courts that have

invalidated similar readings of Title IX on this basis. See supra ¶ 4 (collecting cases).

       229.    Alternatively, even if “sex” as used in Title IX were an ambiguous term, the De-

partment’s interpretation would not be entitled to Chevron deference. For one, the Department’s

reading falls outside the range of reasonable interpretations of the statutory text because it purports

to resolve a policy issue of major political significance without clear congressional authority, see

West Virginia v. EPA, 597 U.S. 697, 721-25 (2022), and fails to “construe[ ‘on the basis of sex’]

to avoid serious constitutional doubts,” Brawner v. Scott Cnty., 14 F.4th 585, 592 n.2 (6th Cir.

2021) (quoting FCC v. Fox Tel. Stations, Inc., 556 U.S. 502, 516 (2009)); see also infra Claim II.

For another, the Department has read Title IX to impose a new federal-funding condition in an

area in which States “historically have been sovereign”—the education field. United States v.
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Lopez, 514 U.S. 549, 564 (1995). In such areas, “it is insufficient merely that an agency reasonably

liquidated ambiguities in the relevant statute”; rather, “Congress itself must have spoken with a

‘clear voice.’” Kentucky v. Yellen, 54 F.4th 325, 354 (6th Cir. 2022) (quoting Pennhurst State Sch.

& Hosp. v. Halderman, 451 U.S. 1, 17 (1981)).

       230.    To the extent Chevron would permit the Department’s interpretation, that decision

should be reconsidered. Cf. Loper Bright Enters. v. Raimondo, No. 22-451 (U.S. argued Jan. 17,

2024) (presenting question “[w]hether the Court should overrule Chevron).

       231.    Second, the Department’s reading of Title IX violates the “elemental principle of

administrative law that agencies are bound to follow their own regulations.” Meister v. U.S. Dep’t

of Agric., 623 F.3d 363, 371 (6th Cir. 2010). Here, the Department has chosen to leave the 1975

regulations—allowing sex-separated “toilet, locker room, and shower facilities,” among other

things—on the books unchanged. See 89 Fed. Reg. at 33,816, 33,819, 33,820 (discussing 34

C.F.R. §§ 106.33-.34); supra ¶¶ 148-51. But these regulations expressly contemplate and permit

schools’ dividing certain areas based on students’ sex, not other characteristics like gender identity.

The Department’s gender-identity mandate thus conflicts with these regulations by rendering their

core sex-based distinctions “meaningless.” Adams, 57 F.4th at 813.

       232.    Because the Department’s interpretation of Title IX conflicts with the statutory text

and operative regulations, it is not entitled to deference and exceeds the Department’s legal au-

thority to implement Title IX. The Final Rule therefore should be declared unlawful, “set aside,”

and vacated. See 5 U.S.C. § 706(2).

                                         CLAIM II
                          Violation of APA, 5 U.S.C. § 706(2)(A), (B)
                        Agency Action Contrary to the U.S. Constitution

       233.    All allegations above are incorporated herein by reference.
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        234.     The APA requires courts to set aside and vacate agency action that is “contrary to

constitutional right, power, privilege, or immunity.”        5 U.S.C. § 706(2)(B); see also id.

§ 706(2)(A); Sierra Club, 60 F.4th at 1021; Long Island Power Auth., 27 F.4th at 717.

        235.     The Final Rule is unconstitutional—and thus violates the APA—in multiple ways.

        236.     First, if Title IX means what the Department says in the Final Rule, then Title IX’s

prohibition on sex discrimination transgresses the Spending Clause several times over. See U.S.

Const. art. I, § 8, cl. 1.

        237.      “[L]egislation enacted pursuant to the spending power is much in the nature of a

contract: in return for federal funds, the States agree to comply with federally imposed conditions.”

Adams, 57 F.4th at 815 (quoting Pennhurst, 451 U.S. at 17). That framework means that “if Con-

gress intends to impose a condition on the grant of federal moneys [under its Spending Clause

authority], it must do so unambiguously.” Id. (quoting Pennhurst, 451 U.S. at 17). As this Circuit

has directed, this Spending Clause “clear-statement rule” applies with particular force when a fed-

eral-funding condition “encroache[s] upon a traditional state power,” such as the regulation of

education. Yellen, 54 F.4th at 354 (quoting SWANCC v. U.S. Army Corps of Eng’rs, 531 U.S. 159,

173 (2001)); see also Lopez, 514 U.S. at 564.

        238.     All agree that Congress passed Title IX “pursuant to its authority under the Spend-

ing Clause.” Adams, 57 F.4th at 815. So, the Department can enforce the Final Rule’s reading of

Title IX against the States only if that reading is unambiguously directed by Title IX’s text. Id. at

815-16. As the Eleventh Circuit correctly held in Adams, the Department’s position does not clear

that high hurdle. Id. at 816. At best, the text is ambiguous, and ambiguous statutes cannot support

new duties on the part of Spending Clause recipients. Id. at 815-16; accord Yellen, 54 F.4th at 354



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(“Congress itself must have spoken with a ‘clear voice’” to satisfy the Spending Clause’s clear-

statement rule (quoting Pennhurst, 451 U.S. at 17)).

       239.    The Final Rule also runs afoul of other Spending Clause limits. To start, given that

Plaintiff States’ non-compliance would threaten immense sums in federal monies distributed to

State educational institutions—including some $1.5 billion to Tennessee alone—the Rule uncon-

stitutionally leaves Plaintiff States with “no real option but to acquiesce” to the Department’s in-

terpretation, Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 577-78, 580-82 (2012) (opinion

of Roberts, C.J., joined by Breyer & Kagan, JJ.). Second, the Final Rule impermissibly conditions

federal funding on States’ and school recipients’ taking unconstitutional actions against faculty

and students for engaging in protected expression. See South Dakota v. Dole, 483 U.S. 203, 210-

11 (1987); infra ¶¶ 242-44. Finally, extending Title IX’s protections to individuals based on gen-

der identity alone is not related, as it must be, to the statute’s purpose of remedying past discrimi-

nation against women and promoting equal opportunity for women in education. See South Da-

kota, 483 U.S. at 207-08; supra ¶¶ 38-49. For these additional reasons, the Final Rule unlawfully

exceeds Congress’s Spending-Clause power.

       240.    Second, to the extent the Department asserts authority to define new “discrimina-

tory practices” that violate Title IX exclusively “through [its] regulations,” 89 Fed. Reg. at 33,517,

33,560, that position would transgress “the Constitution’s rule vesting federal legislative power in

Congress,” not agencies acting by “pen-and-phone regulations.” West Virginia, 597 U.S. 737, 753

(Gorsuch, J., concurring). Reading “sex” as a term capacious enough to encompass a controversial

gender-identity mandate, among other novelties, would shift “unfettered” lawmaking power to the

Department in a manner the nondelegation doctrine does not tolerate. See Tiger Lily, LLC v. U. S.

Dep’t of Hous. & Urban Dev., 5 F.4th 666, 672 (6th Cir. 2021).
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       241.    Third, the Final Rule violates the First and Fourteenth Amendments to the U.S.

Constitution. See U.S. Const. amends. I, XIV.

       242.    To the extent the Biden Administration acts consistently with prior enforcement

practice, see supra ¶¶ 81-82, 213 & note 30, and interprets the Final Rule to compel school admin-

istrators and faculty to use gender-identity-based pronouns for a student, the Final Rule would

violate the First Amendment. Cf. Davis, 526 U.S. at 642-43, 650 (recognizing that a school’s Title

IX liability extends to sexual harassment of a student by teachers and peers). The First Amendment

protects at least the rights of professors at public universities to decline to use pronouns incon-

sistent with the student’s sex when teaching. See Meriwether, 992 F.3d at 498-500, 505. And

disciplining a professor or other member of an educational community for failing to follow a

school pronoun policy can violate the Free Exercise Clause. Id. at 512, 514. Either way, such an

interpretation of the Final Rule would flout the First Amendment.

       243.    The Final Rule’s expansive definition of “hostile environment harassment” creates

further First Amendment problems. 89 Fed. Reg. at 33,493, 33,884. Under the Final Rule, this

concept covers all expression—even personal speech made in online forums off campus—that

might “reasonably” be deemed “unwelcome” and that is so “severe” as to “limit” students’ educa-

tional participation based on their sex. Id. at 33,535, 33,562, 33,884 (amending 34 C.F.R.

§ 106.02). But the Department then defines sex-based harassment to include harassment based on

characteristics extending far beyond sex, including various “sex characteristics” and “gender iden-

tity.” Id. at 33,756, 33,886 (34 C.F.R. §§ 106.02, .10). This broad framework inhibits First

Amendment rights by chilling, or risking liability over, students’ expression on deeply held views

regarding significant moral and political issues.



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       244.    Additionally, by requiring school administrators to “respond promptly and effec-

tively” to accommodate a student’s stated gender identity, 89 Fed. Reg. at 33,533, 33,888 (amend-

ing § 106.444(a)); see also supra ¶¶ 112, 163-64, the Final Rule trespasses on the “substantive and

procedural protection[s]” our Constitution extends to cover the right of parents to “[]bring [up]”

their children as they deem fit. Smith v. Org. of Foster Fams. for Equal. & Reform, 431 U.S. 816,

842 (1977); M.L.B. v. S.L.J., 519 U.S. 102, 116 (1996) (citing Meyer v. Nebraska, 262 U.S. 390

(1923)). The Final Rule’s statement that schools should defer to parental wishes about whether

“to make a complaint” about or how “to address” sex discrimination is no answer. 89 Fed. Reg.

at 33,821-22. That language does not purport to excuse schools from following the Final Rule’s

directive that sex discrimination encompasses gender-identity preferences, or otherwise state that

parental opposition requires excepting students from Title IX’s new reach.

       245.    Because the Final Rule is unconstitutional in the ways discussed above, it should

be declared unlawful, “set aside,” and vacated. 5 U.S.C. § 706(2).

                                          CLAIM III
                            Violation of APA, 5 U.S.C. § 706(2)(A)
                           Arbitrary and Capricious Agency Action

       246.    All allegations above are incorporated herein by reference.

       247.    Federal law prohibits agency actions, findings, and conclusions that are “arbitrary,

capricious,” or “an abuse of discretion.” 5 U.S.C. § 706(2)(A).

       248.    A federal agency acts in an “arbitrary and capricious” manner when it (1) “has re-

lied on factors which Congress has not intended it to consider”; (2) “entirely fail[s] to consider an

important aspect of the [regulatory] problem”; (3) “offer[s] an explanation for” its conduct “that

runs counter to the evidence before” it; or (4) reaches a determination that “is so implausible … it



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could not be ascribed to a difference in view or … agency expertise.” Motor Vehicle Mfrs. Ass’n

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       249.     In adopting the Final Rule over commenters’ widespread opposition and decades

of contrary practice, the Department has acted arbitrarily and capriciously.

       250.     First, the Department fails to offer a “reasoned explanation” for the Final Rule’s

departure from the historic understanding of the meaning of Title IX’s prohibition on “sex” dis-

crimination, which regulations have codified since 1975 (see supra ¶¶ 69-74). Encino Motorcars,

LLC v. Navarro, 579 U.S. 211, 222 (2016). The Final Rule retreats from the reality-blinking state-

ment that the Department “does not have a ‘long-standing construction’ of the term ‘sex’ in Title

IX to mean ‘biological sex.’” 87 Fed. Reg. at 41,537. Instead, citing Bostock, the Final Rule

claims that the Department’s interpretation is entirely consistent with reading “sex” to mean “bio-

logical sex.” 89 Fed. Reg. at 33,802, 33,805.

       251.     Bostock, though, disclaimed that its reasoning “address[ed] bathrooms, locker

rooms … or anything else of the kind.” Tennessee, 615 F. Supp. 3d at 817 (quoting Bostock, 590

U.S. at 681). Further, as the Sixth Circuit has held, “the rule in Bostock extends no further than

Title VII.” Pelcha v. MW Bancorp., Inc., 988 F.3d 318, 324 (6th Cir. 2021). By definition, Bostock

thus cannot excuse the inconsistency between the Department’s longstanding view that enforcing

sex-separation in spaces like bathrooms, locker rooms, and shower facilities is not sex discrimina-

tion, on the one hand, and its new rule deeming such policies actionable Title IX discrimination,

on the other.

       252.     Such “[u]nexplained inconsistency in agency policy is a reason for holding [the

Department’s] interpretation to be an arbitrary and capricious change.” Encino Motorcars, 579

U.S. at 222 (cleaned up). Indeed, the Department’s internally conflicting analysis suggests that
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the Final Rule’s Bostock-based justifications for redrawing Title IX reflect “contrived reasons”

offered to support a predetermined result: Effectuating President Biden’s day-one directive to find

new federal authority for adopting “prohibitions on sex discrimination on the basis of gender iden-

tity or sexual orientation.” Exec. Order No. 13,988, 86 Fed. Reg. at 7,023 (capitalization altered);

Dep’t of Com. v. New York, 139 S. Ct. 2551, 2575-76 (2019).

       253.    Second and relatedly, the Department fails to “engage in ‘reasoned decisionmak-

ing.’” Michigan v. EPA, 576 U.S. 743, 750 (2015) (quoting Allentown Mack Sales & Serv., Inc.

v. NLRB, 522 U.S. 359, 374 (1998)). This APA requirement means agencies cannot rest on “state-

ments contradict[ing] earlier responses.” Del. Dep’t of Nat. Res. & Envtl. Control v. EPA, 785

F.3d 1, 16 (D.C. Cir. 2015).

       254.    Yet the Department’s stated reasoning offers “self-contradictory … logic” in

spades. Id. at 16 (citation omitted). The Department points to Congress’s allowing sex-separation

in “living facilities” and 20 U.S.C. § 1681(1)-(9)’s exceptions as justification for omitting such

facilities and programs from its gender-identity mandate. 89 Fed. Reg. at 33,816, 33,818-19. But

the Department arbitrarily declines to extend the same treatment to bathrooms, toilets, and show-

ers, which its regulations likewise permit to be separated based on sex. Supra ¶¶ 148-49. Nor can

the Department identify a rational basis for allowing school activities and programs associated

with Girls and Boys State to restrict participation based on sex, see § 1686(a)(7), yet requiring the

participation of boys identifying as girls in sex-ed classes for girls. Nor can it explain why its

“longstanding athletics regulations” support continuing to allow some (unspecified) enforcement

of sex-separate sports, 89 Fed. Reg. at 33,817, but the equally longstanding regulations governing

bathrooms and locker rooms do not. Nor can the Department defend its assertion that consistently



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enforcing sex-separation policies based on persons’ “physical differences” violates Title IX, since

such differences underlie Title IX’s entire statutory and regulatory scheme. Id. at 33,819.

       255.    Third, the Department failed to adequately “consider and respond to significant

comments received during the period for public comment” on the Final Rule. Perez v. Mortg.

Bankers Ass’n, 575 U.S. 92, 96 (2015). Commenters raised a raft of concerns about the constitu-

tional defects and compliance challenges attending the Final Rule’s approach. But in response to

many, the Final Rule offers only a “handful of conclusory sentences” and “unexplained inconsist-

encies.” Gresham v. Azar, 950 F.3d 93, 103 (D.C. Cir. 2020), vacated as moot, 142 S. Ct. 1665

(Mem.) (2022); Dist. Hosp. Partners, L.P. v. Burwell, 786 F.3d 46, 59 (D.C. Cir. 2015). “Nodding

to concerns raised by commenters only to dismiss them in a conclusory manner is not the hallmark

of reasoned decisionmaking.” Gresham, 950 F.3d at 103.

       256.    Examples of the Department’s flawed approach abound. The Final Rule claims

“nothing in the[] regulations” conflicts with the First Amendment. E.g., 89 Fed. Reg. at 33,500,

33,507, 33,535, 33,819. Yet it relies on Title VII EEOC harassment guidance that implicates free-

speech rights on its face. Supra ¶¶ 180-81. The Final Rule defers consideration of constitutional

concerns to future “technical assistance” documents, id. at 33,822, and enforcement actions, id. at

33,512, saying it can only address “specific examples” with future facts, id. at 33,509, 33,512. Yet

elsewhere the Final Rule references examples provided for “illustrative purposes.” Id.; supra

¶ 162. Regardless, promising to address future chaos does not adequately address the Final Rule’s

here-and-now legal problems. See Bloomberg L.P. v. SEC, 45 F.4th 462, 476-77 (D.C. Cir. 2022).

       257.    Fourth, the Department “entirely fail[s] to consider [certain] important aspect[s] of

the problem” or address relevant evidence that “runs counter” to its cost-benefit determination.

State Farm, 463 U.S. at 43. The Department altogether ignores States’ practical concerns about
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authenticating gender identity, and likewise sidesteps commenters’ objections that the Final Rule

endangers privacy and safety interests. See supra ¶¶ 168-70. The Department rejects the view

that the Final Rule will “lessen[] the force of Title IX’s protections against discrimination that

limits educational opportunities for girls and women,” 89 Fed. Reg. at 33,808, ignoring the evi-

dence that men identifying as women have already taken such opportunities from women, see

supra ¶ 172. The Department fails to consider evidence of the biological differences between men

and women that have long justified sex-separated facilities, certain sex-separated classes, and sex-

separated sports. See supra ¶ 13. And the Department downplays the grave compliance challenges

with structuring school operations based on internal notions of gender identity that are subjective

and subject to change. Tennessee Programs-and-Facilities Comment at 8-9.

       258.    For any and all of the preceding reasons, the Secretary’s promulgation of the Final

Rule was “arbitrary [and] capricious” and an “abuse of [agency] discretion,” and the Rule should

therefore be declared unlawful, “set aside,” and vacated. 5 U.S.C. § 706(2).

                                       CLAIM IV
     Relief under the Declaratory Judgment Act, 28 U.S.C. § 2201, and 5 U.S.C. § 706
                   Claim for Declaratory Judgment Against Defendants

       259.    All allegations above are incorporated herein by reference.

       260.    The Declaratory Judgment Act provides that “[i]n a case of actual controversy

within its jurisdiction … any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such declaration.”

28 U.S.C. § 2201(a).

       261.    This case presents an actual controversy. The Final Rule operates on recipients of

Title IX funds directly, meaning its requirements affect their legal rights. Moreover, the imminent

enforcement of the Department’s Final Rule threatens to force state recipients of Title IX funding
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to choose between violating State Plaintiffs’ laws and abandoning consistent policies or losing

their Title IX funding—funding that amounts to many billions annually.

       262.    The controversy involves questions of federal law and thus arises in this Court’s

jurisdiction. Venue is proper, as the Commonwealth of Kentucky resides in this District.

       263.    Through this Complaint, the Plaintiff States have filed an appropriate pleading to

have their rights declared. The Court can resolve this controversy by declaring that Plaintiffs have

a right to Title IX funding notwithstanding state policies and legal directives that students partici-

pate in covered education programs and activities based on their sex, not gender identity.

                                     PRAYER FOR RELIEF

       An actual controversy exists between the parties that entitles Plaintiff States to declaratory

and injunctive relief. Plaintiff States request that this Court:

       a)      Enter a stay of the Final Rule’s effective date under 5 U.S.C. § 705 and a prelimi-

               nary injunction enjoining Defendants, and any other agency or employee of the

               United States, from enforcing or implementing the portions of the Final Rule that

               violate Title IX, the APA, and the U.S. Constitution;

       b)      Enter a judgment declaring, pursuant to 28 U.S.C. § 2201 and 5 U.S.C. § 706, that

               (i) the Final Rule’s interpretation of Title IX is unlawful; (ii) that the Final Rule is

               arbitrary and capricious; and (iii) that the Plaintiff States, their political subdivi-

               sions, and their resident institutions may continue receiving Title IX funding not-

               withstanding any failure to adhere to the Final Rule’s unlawful requirements;

       c)      Set aside and vacate the Final Rule on the basis that it violates Title IX, the APA,

               and the U.S. Constitution, pursuant to 5 U.S.C. § 706;



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           d)     Permanently enjoin Defendants from withholding Title IX funding from Plaintiff

                  States, their political subdivisions, and resident institutions for refusing to comply

                  with the Final Rule’s unlawful requirements; and

           e)     Grant any and all other relief the Court deems just and proper.

    Dated: April 30, 2024                                Respectfully submitted,




________________________                                ______________________________
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